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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


MARY ESPOSITO, Individually and on                Civil Action No. 16 Civ. 11797 (ADB)
Behalf of All Other Persons Similarly Situated,
                                                  CLASS ACTION
                              Plaintiff,
                                                  ECF Case
       v.
                                                  AMENDED COMPLAINT FOR
AMERICAN RENAL ASSOCIATES                         VIOLATIONS OF THE FEDERAL
HOLDINGS, INC., JOSEPH A. CARLUCCI,               SECURITIES LAWS
JONATHAN L. WILCOX, SYED T.
KAMAL, JONATHAN J. McDONOUGH,                     JURY TRIAL DEMANDED
CENTERBRIDGE CAPITAL PARTNERS
L.P., MERRILL LYNCH, PIERCE, FENNER,
& SMITH, INC., BARCLAYS CAPITAL INC.,
GOLDMAN, SACHS & CO., WELLS FARGO
SECURITIES, LLC, SUNTRUST ROBINSON
HUMPHREY, and LEERINK PARTNERS
LLC,

                              Defendants.
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         Court-appointed Lead Plaintiff Errol Rudman and Rudman Partners L.P. (collectively

“Lead Plaintiff”), individually and on behalf of all other persons similarly situated, makes the

following allegations based upon the investigation of Lead Plaintiff’s counsel, which included,

inter alia, a review of: the United States Securities and Exchange Commission (“SEC”) filings of

American Renal Associates Holdings, Inc. (“ARA” or the “Company”); Defendants’ public

statements; analyst reports and advisories about the Company; media accounts and Government

documents concerning ARA; documents filed in UnitedHealthcare of Florida, Inc. v. American

Renal Associates Holdings, Inc., No. 16 Civ. 81180 (S.D. Fla.); and interviews of former ARA

employees. Lead Plaintiff believes that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

         1.    This is a federal securities class action on behalf of: (i) a class consisting of all

persons other than Defendants who purchased or otherwise acquired ARA common stock

between April 20, 2016 and August 18, 2016, inclusive (the “Class Period”), pursuant to

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5; and (ii) a subclass of all those who

purchased ARA common stock in the Company’s Initial Public Offering (“IPO”) on or about

April 21, 2016 (the “April 2016 IPO”), pursuant to Sections 11 and 15 of the Securities Act of

1933 (the “Securities Act”). Pursuant to the April 22, 2016 Form 424B4 (the “Prospectus”)

accompanying the April 2016 IPO, ARA sold 8,625,000 shares at a price of $22.00 per share

($20.51 per share net of underwriting discounts), raising approximately $176.9 million in net

proceeds for the Company.




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          2.   ARA is a provider of outpatient dialysis services that owns and operates

approximately 200 dialysis clinics throughout the country. According to its website, “ARA

operates exclusively through a physician partnership model, in which it partners with

approximately 370 local nephrologists to develop, own and operate dialysis clinics.”

          3.   Dialysis is used by patients with End-Stage Renal Disease (ESRD). “ESRD is a

kidney impairment that is irreversible and permanent. Dialysis is a process for cleaning the

blood and removing excess fluid artificially with special equipment when the kidneys have failed.

People with ESRD require either a regular course of dialysis or kidney transplantation in order to

live.” Interim Final Rule, Medicare Program; Conditions for Coverage for End-Stage Renal

Disease Facilities-Third Party Payment, 81 Fed. Reg. 90211, 90212 (Dec. 14, 2016) (hereinafter

“IFR”).

          4.   Medicare and Medicaid are social health care programs pursuant to which the

government subsidizes an eligible patient’s medical treatment. Eligible patients for these

programs are often elderly, of limited financial means, or both. Providers of dialysis services

such as ARA provide treatment to patients enrolled in Medicare or state Medicaid programs as

well as patients enrolled in private health insurance plans.

          5.   “According to data published by the United States Renal Data System (USRDS),

Medicare is the predominant payer of ESRD services in the United States, covering (as primary

or secondary payer) about 88 percent of the United States ESRD patients receiving hemodialysis

in 2014. Among those enrolled in Medicare on the basis of ESRD and receiving hemodialysis in

2015, [the Centers for Medicare and Medicaid Services] has determined 41 percent were enrolled

in both Medicare and Medicaid . . . .” IFR at 90213.




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         6.    However, private insurance plans reimburse dialysis providers at significantly

higher rates than Medicare or Medicaid. For example, a procedure with a Medicare or Medicaid

reimbursement rate of approximately $200 will receive an out of network reimbursement rate of

approximately $4,000 from a private insurer.

         7.    Thus, in order for ARA to operate at a profit, ARA heavily depends on revenues

derived from private insurance payors.         Indeed, during the Class Period, ARA publicly

acknowledged that one of the main risks to “[a]n investment in shares of [its] common stock”

was the potential for a “decline in the number of patients with commercial insurance,”

Prospectus at 9, and that it needs to “continuously obtain new patients covered by commercial

insurance” to avoid adverse operating results, id. at 21.

         8.    Faced with this financial reality, and an impending initial public offering of its

stock scheduled for April 2016 IPO, ARA developed a scheme whereby it could quickly increase

revenues and profits.

         9.    Specifically, prior to and during the Class Period, ARA systematically in engaged

in a high-pressure “insurance education” program, the real purpose of which was to steer patients

onto more costly commercial/private insurance plans offered on the exchanges established under

the Patient Protection and Affordable Care Act (“ACA”). In other words, patients who were

already eligible to receive dialysis through Medicare or Medicaid were pushed into private

insurance for the sole purpose of increasing ARA’s reimbursement rates. According to several

former ARA employees, Ms. Jennifer Cordeiro – ARA’s Vice President of Managed Care and

Accounting and the wife of ARA’s former Executive Vice President and Chief Operating Officer

John J. McDonough – spearheaded this scheme on behalf of ARA’s management.




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         10.   One impediment to ARA’s plan was the fact that commercial insurance included

premium, copay, coinsurance, and deductible obligations that were not imposed on patients

insured by Medicare of Medicaid. Thus, ARA knew that for the scheme to work it needed to

overcome the financial limitations of the vulnerable patient population ARA wanted to steer into

commercial plans and thereby assume greater financial obligations.

         11.   ARA’s solution was an illicit practice pursuant to which ARA (and several of the

nation’s other largest dialysis providers) funded a non-profit § 501(c)(3) organization, the

American Kidney Fund (“AKF”), which, in turn, paid premium assistance to dialysis patients

referred to AKF by ARA. In other word, ARA (and other major dialysis providers) used AKF as

a slush fund pursuant to which ARA’s contributions were used pay for its patients’ increased

financial obligations resulting from ARA steering those patients onto commercial insurance

plans.

         12.   Notably, this arrangement, which bears all the hallmarks of an illicit kickback

scheme, was permissible only insofar as AKF treated all assistance applications equally, and did

not favor those applications submitted on behalf of patients of ARA and other donating dialysis

providers. Specifically, AKF has publicly defended its premium assistance practices – known as

the “HIPP” program – based on an opinion it sought and received from the Department of Health

and Human Services, Office of the Inspector General (the “1997 Advisory Opinion”).

         13.   In that opinion, the OIG made clear that it had relied on AKF’s representation that,

while AKF would rely on donations from dialysis providers to fund premium assistance grants,

those grants would be equally available to all needy patients regardless of the provider from

whom they sought dialysis services. In other words, a patient who received dialysis from a

provider who did not donate a penny to AKF would have the same opportunity to receive



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financial assistance as one who received dialysis at a provider like ARA that donated millions of

dollars to AKF.

         14.   But the description of its program that AKF maintained on its website until

recently, demonstrated that AKF had not followed through on its promise to the OIG. To the

contrary, in describing its program, AKF specifically instructed dialysis providers that they

needed to comply with AKF’s “Honor System” by tracking the amount of money their patients

received from AKF and donating an equivalent amount back to the program. AKF further

instructed those providers who did not want to donate according to that system to not submit

any applications on behalf of needy patients. As such, ARA was well aware that AKF’s HIPP

program was not being administered in accordance with the 1997 Advisory Opinion.

         15.   In its Prospectus, ARA represented that it (1) maintained “[r]obust compliance”

and “[a]dherence to stringent billing, reimbursement and compliance procedures” and (2) that it

“follow[s] a disciplined approach to enhancing performance” in “payor interaction and

arrangements; and billing and collection.” Prospectus at 4, 104. The Prospectus also issued a

boilerplate “risk factor” that “it is possible that some of our business activities could be subject

to [anti-kickback] laws.” Id. at 31. These statements were materially false and misleading

because, unbeknownst to investors, ARA was actively steering vulnerable patients from

Medicare and Medicaid into the private market by use of an industry-funded charity, for the sole

purpose of collecting larger reimbursements. Far from being a faint possibility, ARA’s business

and billing practices created a material risk that ARA would be found to have violated anti-

kickback laws, or that the enhanced revenue generated from Defendants’ steering practices

would otherwise cease or materially diminish due to the controversial nature of these practices.

Yet, nowhere in ARA’s disclosures did it inform investors that certain of its revenue were



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derived from insurance plans in which an industry-funded not-for-profit entity was improperly

paying for patients’ premiums. In fact, the not-for-profit entity at the heart of ARA’s revenue-

generating scheme—AKF—was never identified in the Prospectus.

        16.    Defendants continued their misrepresentations when, during a May 13, 2016

earnings call, an ARA officer attributed increased revenue to patients “opting for an ACA

product,” which conveyed the misleading impression that patients chose these plans of their own

volition, rather than as a result of ARA’s and AKF’s improper prodding and enticement.

        17.    Based on Defendants’ false statements, ARA stock price soared, reaching $29.65

per share on June 13, 2016, more than $7.00 higher than ARA’s IPO price of $22 a share.

        18.    Shortly thereafter, ARA’s improper business practices and arrangements caught

the attention of insurers and the United States Government. Specifically, on July 1, 2016 three

affiliates of the insurer UnitedHealth Group Inc. (“UnitedHealth”) commenced an action against

ARA. See UnitedHealthcare of Florida, Inc., et al. v. American Renal Associates Holdings, Inc.,

No. 16 Civ. 81180 (S.D. Fla.) (the “UnitedHealthcare Action”). In its complaint, UnitedHealth

alleged that, beginning in the first quarter of 2016, ARA had engaged in a “fraudulent and illegal

scheme,” in violation of various state anti-kickback and insurance fraud statutes, in which ARA

convinced Medicare and Medicaid-eligible patients to enroll in UnitedHealth plans by referring

them to AKF, which would pay for their insurance premiums. ARA engaged in this scheme, the

complaint alleged, because United Health’s out-of-network reimbursement rate dwarfed the rates

for Medicaid and Medicare.

        19.    On July 5, 2016 (the first day of trading since the news broke), and prior to the

opening of the U.S. securities market, Defendants issued a Form 8-K acknowledging that it had




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received the UnitedHealth complaint. By the close of the market on July 5, 2016, ARA shares

had declined $2.82 per share or nearly 9.88%, from $28.53 to $25.71 per share.

        20.    Consistent with the revelations from the UnitedHealthcare Action, on July 27,

2016, an executive for another health insurer, Anthem, Inc., reported on an earnings call of

“higher than-expected payments for dialysis treatments during the first half of the year” and that

Anthem was “in the process of reviewing the drivers of this increase.” By the close of the market

on July 27, 2016, ARA shares had declined by $2.18 per share, or approximately 8.20%, from

$26.59 to $24.41 per share.

        21.    Nonetheless, during an August 10, 2016 earnings call, ARA’s Chief Executive

Officer, Defendant Joseph A. Carlucci, attempted to downplay the significance of the

UnitedHealth lawsuit, claiming that the challenged practice affected only 27 UnitedHealth

patients. As ARA later admitted after the Class Period, however, the practices at issue – which

extended to insurers other than UnitedHealth – involved several hundred of ARA’s patients.

        22.    Despite ARA’s assurances, on August 18, 2016, the Department of Health and

Human Services, Center for Medicare & Medicaid Services (“CMS”), launched an investigation

and issued a Request for Information (“RFI”) regarding “Inappropriate Steering of Individuals

Eligible for or Receiving Medicare and Medicaid benefits to Individual Market Plans.” In its

RFI, CMS stressed its “serious concerns” about providers steering people eligible for or

receiving Medicare and/or Medicaid benefits into individual market plans.

        23.    Among other admonitions, the CMS advised that “it is unlawful to enroll an

individual in individual market coverage if they are known to be entitled to benefits under

Medicare Part A, enrolled in Medicare Part B, or receiving Medicaid benefits,” RFI at 7

(emphasis added), and that “offering premium and cost-sharing assistance in order to steer



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people eligible for or receiving Medicare and/or Medicaid benefits to individual market plans for

a provider’s financial gain is an inappropriate action that may have negative impacts on

patients,” id. at 9. As such, the CMS stated that it “is strongly encouraging any provider or

provider affiliated organization that may be currently engaged in such a practice to end the

practice.” (Emphasis added). On this news, ARA shares declined $2.31 per share or nearly

10.44%, from $ 22.12 to $19.81 per share, on August 19, 2016.

        24.    Moreover, several post class-period disclosures and developments further

evidence: (i) ARA’s inappropriate business activities; (ii) the falsity or misleading nature of

ARA’s statements and omissions concerning those practices; and (iii) how the cessation of those

activities negatively and materially impacted ARA’s profitability.

        25.    For example, during ARA’s November 11, 2016, third quarter earnings

conference call, ARA stated that “in light of the recent CMS public commentary and the

potential for policy changes,” ARA was “temporarily suspend[ing] application assistance to the

[AKF] for charitable premium assistance for patients enrolled in minimum essential Medicaid

coverage.”    ARA estimated that the “annual financial impact of this temporary change to

adjusted EBITDA less non-controlling interests would be up to approximately $17 million,” with

a potential loss of an additional “$7 million” in adjusted EBITDA depending on the nature of the

CMS’s guidance.

        26.    To put ARA’s potential loss of $24 million in adjusted EBITIDA in 2016 in

perspective, ARA’s entire 2016 third quarter adjusted EBITDA was $32.5 million. As a result,

on November 21, 2016, Goldman Sachs stated that it was downgrading and taking “a more

tempered view” on ARA, citing ARA’s suspension of its activities with AKF as “a key risk.”




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        27.    Most recently, the CMS issued an IFR addressing patient steering and third-

parties’ payment of patients’ premiums under commercial insurance. Among other changes, the

IFR forbids such third-party payments unless the insurance provider agrees to accept such

payments.

        28.    In other words, ARA’s whole scheme is now dependent on the prior approval of

the commercial insurance providers they sought to fleece: if the insurance providers do not

agree to accept premium assistance payments from a third-party where a patient is otherwise

eligible for Medicaid or Medicare, then ARA will not be able to use AKF to offset the additional

cost to ARA’s patients from selecting a commercial plan under the ACA, thereby negating any

incentive for an individual to be steered to a commercial plan versus public coverage.

        29.    In sum, during the Class Period, Defendants made false and/or misleading

statements, as well as failed to disclose material adverse facts about ARA’s business practices

and financial condition. As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s common stock, Plaintiff and other

Class members have suffered significant losses and damages.

                                JURISDICTION AND VENUE

        30.    The claims asserted herein arise under and pursuant to Sections 11, 12(a)(2) and

15 of the Securities Act, 15 U.S.C. §§ 77k, 77l(a)(2) and 77o, Sections 10(b) and 20(a) of the

Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R.

§ 240.10b-5.

        31.    This Court has jurisdiction over this action pursuant to Section 22 of the

Securities Act, 15 U.S.C. § 77v, Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C.

§§ 1331 and 1337.



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         32.    Venue is properly laid in this District pursuant to Section 22 of the Securities Act,

Section 27 of the Exchange Act and 28 U.S.C. § 1391(b) and (c). The Underwriter Defendants

(as defined herein) maintain offices in this District. The acts and conduct complained of herein

occurred in substantial part in this District.

         33.    In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of a national securities exchange.

                                                 PARTIES

         34.    Lead Plaintiff purchased ARA shares during the Class Period, on dates and at

prices that were detailed in a sworn certification that was previously filed with the Court, at

artificially inflated prices and has been damaged thereby, including shares purchased on April 21,

2016, traceable to the IPO.

         35.    Defendant American Renal Associates Holdings, Inc. is a Delaware corporation

with principal executive offices located at 500 Cummings Center, Suite 6550, Beverly,

Massachusetts 01915. ARA’s common stock trades on the New York Stock Exchange (“NYSE”)

under the ticker symbol “ARA.”

         36.    Defendant Joseph A. Carlucci (“Carlucci”) is the Chief Executive Officer

(“CEO”) and Chairman of the Board of ARA.

         37.    Defendant Jonathan L. Wilcox (“Wilcox”) is the Chief Financial Officer (“CFO”)

and a vice president of ARA.

         38.    Defendant Syed T. Kamal (“Kamal”) is the President and a director of ARA.




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        39.    Defendant John J. McDonough (“McDonough”) was an Executive Vice President,

Chief Operating Officer and Treasurer of ARA. Mr. McDonough is married to Ms. Jennifer

Cordeiro, ARA’s Vice President of Managed Care and Contracting during the Class Period and a

key player in ARA’s revenue enhancement scheme.

        40.    Defendants Carlucci, Wilcox, Kamal, and McDonough are sometimes referred to

herein as the “Individual Defendants.”

        41.    Defendant Centerbridge Capital Partners L.P. (“Centerbridge”) is a private

investment firm with offices in New York and London. Both before and during the Class Period,

Centerbridge was ARA’s majority shareholder.          ARA has conceded that, as a result of

Centerbridge’s majority ownership, ARA was a “controlled company.” Form S-1/A at 51. As of

the IPO, Centerbridge had appointed the majority of ARA’s directors, and maintained the right to

appoint a majority of ARA’s directors during the Class Period.

        42.    Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. (“MLPF&S”) (a subsidiary

of Bank of America Corp.), a Delaware corporation, served as an underwriter for the April 2016

IPO. MLPF&S has headquarters in New York, NY, and maintains several offices in this District.

        43.    Defendant Barclays Capital Inc. (“Barclays”), a Connecticut corporation, served

as an underwriter for the April 2016 IPO. Barclays has headquarters in New York, NY, and

maintains an office in this District, located at 125 High Street, 16th Floor, Boston, MA 02110.

        44.    Goldman, Sachs & Co. (“Goldman Sachs”), a Delaware corporation, served as an

underwriter for the April 2016 IPO. Goldman Sachs has headquarters in New York, NY, and

maintains an office in this District, located at 125 High Street, 20th Floor, Boston, MA 02110.




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         45.   Wells Fargo Securities, LLC (“Wells Fargo”), a Delaware corporation, served as

an underwriter for the April 2016 IPO. Wells Fargo has headquarters in San Francisco, CA, and

maintains several offices in this District.

         46.   SunTrust Robinson Humphrey (“SunTrust”), a Tennessee corporation, served as

an underwriter for the April 2016 IPO. SunTrust has headquarters in Atlanta, GA, and maintains

an office in this District, located at 125 Summer Street, #1700, Boston, MA 02110.

         47.   Leerink Partners LLC (“Leerink”), a Delaware corporation, served as an

underwriter for the April 2016 IPO. Leerink has headquarters in and maintains an office in this

District, located at 1 Federal Street, 37th Floor, Boston, MA 02110.

         48.   Defendants MLPF&S, Barclays, Goldman Sachs, Wells Fargo, SunTrust, and

Leerink are collectively referred to herein as the “Underwriter Defendants.” The Underwriter

Defendants collectively received estimated discounts and commissions of approximately $11.14

million in connection herewith.

                                  RELEVANT NON-PARTIES

         49.   AKF is registered as a tax-exempt, nonprofit organization under Section 501(c)

(3) of the Internal Revenue Code. See 26 U.S.C § 501(c)(3). AKF is based in Rockville,

Maryland.

         50.   According to its website, AKF’s mission is to “help people fight disease and live

healthier lives,” which it claims to accomplish “by providing financial support to patients in need,

and by delivering programs that educate, build awareness, and drive advocacy, resulting in

greater public understanding and ultimately the prevention of kidney disease.” (See http://

fund.org/about-us/vision-and-mission/).




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        51.    Upon information and belief, through its Health Insurance Premium Payment

(“HIPP”) program, AKF now collects hundreds of millions of dollars in “donations” from

dialysis providers every year. It then uses those funds to pay insurance premiums for dialysis

patients who are receiving services from AKF’s provider “donors.” In 2015, AKF reported

approximately $275.6 million in “gross receipts” to the Internal Revenue Service, a substantial

increase over its 2014 gross receipts (more than $253.7 million) and its 2013 gross receipts

($233.6 million).

        52.    AKF’s HIPP program is primarily funded by donations from third-party dialysis

providers, including ARA.

        53.    CW1 worked at ARA from July 2013 until September 2016 in a variety of

positions, including: Accounts Receivable Specialist from January 2015 to May 2015; Senior

Admissions Coordinator from May 2015 to January 2016; and Admission Team Lead from

January 2016 to September 2016. As Admissions Team Lead, CW1’s immediate superior was a

Director/Manager of Admissions who, in turn, reported to Ms. Jennifer Cordeiro.

        54.    CW2 worked at ARA as a Patient Account Specialist from March 2014 to the end

of October 2014.     In that capacity, CW2 worked as an Admissions Coordinator and in

Collections. CW2 was assigned to approximately seven clinics in Texas. As an Admissions

Coordinator, CW2 was responsible for receiving new patient information from CW2’s assigned

clinics and going through the so-called “admissions checklist.”

        55.    CW2 reported to Mr. Jess Archambault, who, in turn, reported to Ms. Jennifer

Cordeiro. At that time, Ms. Cordeiro was the manager of CW2’s department. CW2 resigned

from ARA because CW2 did not agree with ARA’s practice of patient steering, which CW2

divulged to ARA’s Compliance Officer during CW2’s exit interview.



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                               CLASS ACTION ALLEGATIONS

         56.   Lead Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of themselves and: (i) all persons other than Defendants

who were purchasers of ARA common stock between April 20, 2016 and August 18, 2016,

inclusive (the “Class”), and (ii) a subclass of all persons other than Defendants who purchased

the common stock of ARA in the April 2016 IPO on or about April 21, 2016 (the “Subclass”).

         57.   Excluded from the Class and Subclass are Defendants herein, members of the

immediate families of each of the Defendants, any person, firm, trust, corporation, officer,

director or other individual or entity in which any Defendant has a controlling interest or which

is related to or affiliated with any Defendant, and the legal representatives, agents, affiliates,

heirs, successors-in-interest or assigns of any such excluded party.

         58.   The members of the Class and Subclass are so numerous that joinder of all

members is impracticable. Throughout the Class Period, ARA shares were actively traded on the

NYSE, with more than 8.8 million shares outstanding.          The precise number of Class and

Subclass members is unknown to Lead Plaintiff at this time but is believed to be in the thousands.

In addition, the names and addresses of the Class and Subclass members can be ascertained from

the books and records of ARA, its transfer agent or the underwriters of the April 2016 IPO.

Notice can be provided to such record owners by a combination of published notice and first

class mail, using techniques and a form of notice similar to those customarily used in class

actions arising under the federal securities laws.

         59.   Lead Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class and Subclass. Lead Plaintiff has retained competent counsel experienced




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in class action litigation under the federal securities laws to further ensure such protection and

intends to prosecute this action vigorously.

          60.   Lead Plaintiff’s claims are typical of the claims of the other members of the Class

and Subclass because Lead Plaintiffs’ and Class and Subclass members’ damages arise from and

were caused by the same false and misleading representations and omissions made by or

chargeable to Defendants. Lead Plaintiff does not have any interests antagonistic to, or in

conflict with, the Class or Subclass.

          61.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the damages suffered by individual Class and Subclass

members may be relatively small, the expense and burden of individual litigation make it

virtually impossible for the Class and Subclass members to seek redress for the wrongful conduct

alleged. Lead Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action.

          62.   Common questions of law and fact exist as to all members of the Class and

Subclass and predominate over any questions solely affecting individual members of the Class

and Subclass. Among the questions of law and fact common to the Class are:

          (a)   whether the federal securities laws were violated by Defendants’ acts as alleged

herein;

          (b)   whether statements made by ARA and/or the Individual Defendants, to the

investing public during the Class Period were materially false and misleading;

          (c)   whether Defendants acted with scienter in making false or misleading statements

during the Class Period;




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         (d)    whether the price of ARA common stock was artificially inflated during the Class

Period; and

         (e)    the extent of injuries sustained by the members of the Class and the appropriate

measure of damages.

         Among questions of law and fact common to the Subclass are:

         (a)    whether the federal securities laws were violated by Defendants’ acts as alleged

herein; and

         (b)    whether the Registration Statement (including the Prospectus) issued by ARA to

the investing public in connection with the April 2016 IPO negligently omitted and/or

misrepresented material facts about the Company and its business.

                               SUBSTANTIVE ALLEGATIONS

                                               I.

               ALLEGATIONS PERTINENT TO THE EXCHANGE ACT CLAIMS

A.      Defendants’ Business Operations and Structure

         63.    ARA is “a national provider of kidney dialysis services for patients suffering from

chronic kidney failure, also known as end stage renal disease, or ESRD.” Q2 Form 10-Q at 8

(Aug. 9, 2016). “As of June 30, 2016,” ARA “owned and operated 201 dialysis clinics treating

13,755 patients in 25 states and the District of Columbia.”         Id.   According to ARA, the

Company: (i) is “the largest dialysis services provider in the United States focused exclusively

on joint venture partnerships with physicians,” (ii) “derive[s] [its] patient service operating

revenues from providing outpatient and inpatient dialysis treatments,” and (iii) that the sources of

payment for these services principally are “government-based programs…as well as commercial

insurance plans.”



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           64.   ARA’s executives view the company’s operations and manage its business as one,

consolidated, operational whole, adopting and implementing enterprise-wide strategies from

what they refer to as their Beverly, Massachusetts “corporate headquarters.” According to ARA:

(i) “the chief operating decision maker, or decision-making group, [makes] decisions [about]

how to allocate resources and assess performance. The Company’s chief decision-maker is a

combination of the Chief Executive Officer, the Chief Operating Officer and the President,” and

(ii) “[t]he Company views its operations and manages its business as one reportable business

segment, the ownership and operation of dialysis clinics, all of which are located in the United

States.” Q2 Form 10-Q at 9 (Aug. 9, 2016).

           65.   In describing its business structure, ARA explained “[w]e, through American

Renal Associates LLC or another subsidiary… typically enter into a joint venture operating

agreement… and a management services agreement… pursuant to which we provide various

support services to our clients,” and that “we provide our JV clients with all of the managerial,

accounting, financial, technological and administrative support necessary to operate our

clinics.” Prospectus at 108, 111.1 In detailing the specific managerial services/assistance ARA

provides to its clinics, it explained:

         [t]he management services we provide to our clinics generally include:… human
         resource functions, general accounting functions; clinical and technical
         services;… providing manuals, policies and procedures; performing payroll
         processing…; billing and collection and payment of accounts receivable;
         providing    staff    training  programs;…preparing         annual    operating
         budgets;…procuring and maintaining insurance policies; and performing legal
         and compliance services.

Id. at 111.




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    Other otherwise stated, all emphasis has been added.


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         66.    With respect to its joint venture clinics, ARA stated that its “majority voting

interest and/or contractual rights . . . . provide[] the Company with the ability to direct the

activities of “various joint ventures entities that” most significantly influence the entity’s

economic performance” and that “the Company as determined that it is the primary beneficiary

of these entities.” Q2 Form 10-Q at 13 (Aug. 9, 2016).

         67.    ARA directs the activities of its joint venture clinics through, inter alia, a

company-wide “Code of Ethics,” which it displays on its website. That Code states: “Please

note when we use ‘ARA’ in this Code, we mean American Renal Associates Holdings, Inc., its

subsidiaries, joint ventures and controlled affiliated entities, including the dialysis facilities.”

         68.    In the Code, ARA sets forth its company-wide policies including the routine

waiver of copays and deductibles, the providing or promising of things of value to induce

patronage and referrals, and the “special obligation” ARA entities have to bill accurately and

“comply with payor requirements.”

         69.    ARA also finances and funds the operations of its subsidiaries, all the way down

to the clinic level. For example, in its April 20, 2016 Form S-1/A, ARA stated that it would use

the proceeds it generated from its initial public offering of stock “to fund our continued growth

through the development of new clinics, expansion of existing clinics or acquisition of clinics

that we may identify from time to time.” Form S-1/A at 14.

         70.    ARA’s revenues, earned through the operation of dialysis clinics are called

“patient service operating revenues” and are realized by and credited to ARA on its financial

statements. In its Q2 Form 10-Q, for example, ARA explained that “[t]he major component of

our revenues, which we refer to as patient service operating revenues, is derived from dialysis

services.” Q2 Form 10-Q at 31 (Aug. 9, 2016).



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         71.   ARA also makes “charitable contributions,” which it identifies as part of its

“Operating Expenses.” Form S-1/A at 80. According to ARA, general and administrative

expenses per treatment increased from $40 as of December 31, 2014 to $43 as of December 31,

2015, which it attributed to, inter alia, an “increase in charitable contributions.” Id. at 83.

B.       Insurance Coverage for Dialysis Treatment

         72.   The majority of dialysis services are paid for by government programs.

“Medicare pays for routine maintenance dialysis provided by Medicare-certified ESRD facilities,

also known as dialysis facilities.” IFR at 90212. “In addition to Medicare, Medicaid provides

coverage for some people with ESRD. Many individuals enrolled in Medicare may also qualify

for full benefits under the Medicaid program on the basis of their income, receipt of

Supplemental Social Security Income, being determined medically-needy, or other eligibility

categories under the State Plan.” Id. “According to data published by the United States Renal

Data System (USRDS), Medicare is the predominant payer of ESRD services in the United

States, covering (as primary or secondary payer) about 88 percent of the United States ESRD

patients receiving hemodialysis in 2014. Among those enrolled in Medicare on the basis of

ESRD and receiving hemodialysis in 2015, CMS has determined 41 percent were enrolled in

both Medicare and Medicaid . . . .” Id. at 90213.

         73.   Patients with ESRD may also seek coverage from private commercial insurance

plans. These plans often differ in terms of the services they cover, the facilities and providers

they consider to be in-network, the premiums they charge, and the costs they require patients to

bear in the form of premiums, coinsurance, copays, and deductibles.

         74.   The ACA created exchanges run by states and the federal government that are

market forums where insurance companies offer various health insurance plans for individuals to



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compare and purchase for themselves or their families. The plans offered in the exchange are

called Qualified Health Plans and must meet certain requirements in terms of the benefits they

offer, as required by the ACA.

         75.    Dialysis providers receive significantly higher payments for the same services

from commercial insurance providers versus Medicare or Medicaid. Indeed, after reviewing

numerous comments from market participants, the CMS observed:

        All commenters who addressed the issue made clear that enrolling a patient
        in commercial coverage (including coverage in the individual market) rather
        than public coverage like Medicare and/or Medicaid is of significant financial
        benefit to dialysis facilities. For example, one comment cited reports from
        financial analysts estimating that commercial coverage generally pays dialysis
        facilities an average of four times more per treatment . . . . A number of other
        commenters explained that commercial coverage reimburses dialysis facilities at
        significantly higher rates overall.

IFR at 90214.

         76.    And, as reported in an October 23, 2016 St. Louis Post Dispatch article entitled,

“DaVita encouraged some low-income patients to enroll in commercial plans,” “Private insurers

can pay as much as $4,000 per treatment, while government plans such as Medicaid or Medicare

pay $300 . . . .”

         77.    The availability of commercial insurance is dependent on whether a patient

receives or is eligible for benefits under a government program. As the CMS has observed:

        [I]ndividuals who are already covered by Medicare generally cannot become
        concurrently enrolled in coverage in the individual market. Section 1882(d)(3) of
        the [Social Security] Act makes it unlawful to sell or issue a health insurance
        policy (including policies issues on and off Exchanges) to an individual entitled to
        benefits under Medicare Part A or enrolled under Medicare Part B with the
        knowledge that the policy duplicates the health benefits to which the individual is
        entitled. Therefore, while an individual with ESRD is not required to apply for
        and enroll in Medicare, once they become covered by Medicare it is unlawful for
        them to be sold a commercial health insurance policy in the individual market if
        the seller knows the individual market policy would duplicate benefits to which
        the individual is entitled.


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IFR at 90213.

         78.    Unlike patients with coverage under the government programs – who typically

have no payment obligations as a result of some combination of Medicare, Medicare

supplemental insurance, and state Medicaid programs – patients on commercial plans are

responsible for various costs such as plan premiums.

         79.    However, as CMS explained, because the premiums owed under commercial

insurance plans are considerably less than the reimbursement rate, dialysis providers have a

strong incentive to pay the their patients’ premiums in order to take advantage of greater

commercial insurance reimbursement rates vis-á-vis government programs.           In other words

dialysis providers can greatly benefit:

         by making a relatively small outlay to pay an individual’s premium to enroll in
         commercial coverage so as to receive a much larger payment for providing an
         identical set of health care services. This asymmetry creates strong financial
         incentive for such providers to use premium payments to steer as many
         patients as possible.

IFR at 90214.

         80.    And in fact, “[u]ntil the late 1990s, the dialysis companies routinely paid these

expenses. But a federal law outlawed that practice, out of concern that covering a patient’s bills

might dissuade that patient from switching to another clinic that might provide better care.”

Katie Thomas and Reed Abelson, Kidney Fund Seen Insisting on Donations, Contrary to

Government Deal, New York Times (Dec. 25, 2016) (the “December 2016 New York Times

Article”).

C.       The AKF and its Third-Party Premium Assistance Program

         81.    Despite the law forbidding direct payments from dialysis providers to cover the

cost of their patients’ expenses under private insurance, the AKF entered into a limited


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agreement with the Government that permitted it to make such payments on behalf of dialysis

clinic patients.

         82.       As reported in the December 2016 New York Times Article: “The Kidney Fund’s

payments are part of an unusual deal it made with the government and the dialysis industry 20

years ago. The arrangement allows the dialysis companies to avoid violating anti-kickback laws.

It allows dialysis clinics to donate to the Kidney Fund, treat patients whose insurance premiums

are paid by the charity and then collect money from insurers for those patients’ treatments –

essentially guaranteeing a steady stream of paying customers.”

         83.       That deal stems from the 1997 Advisory Opinion ARA received from the HHS

Office of the Inspector General, as to whether it could use donations to pay for Medicare Part B

or “Medigap” premiums for financially needy Medicare beneficiaries with ESRD without being

subject to civil monetary penalties under section 231(h) of the Health Insurance Portability and

Accountability Act of 1996 (“HIPPA”).

         84.       Section 231(h) of HIPPA gives the OIG the authority to impose civil monetary

penalties against entities who offer remuneration to a program beneficiary that they know or

should know will influence the beneficiary’s decision to order or receive items or services

covered by Medicare or Medicaid from a particular provider, practitioner, or supplier.

         85.       As a result of this agreement, major dialysis providers, such as ARA, flooded

AKF with donations.          Thus, in 1995, AKF only had “a $5 million annual budget and

contributions from the dialysis industry that accounted for less than 10 percent of its donations.”

December 2016 New York Times Article. By 2015, however, “the Kidney Fund reported revenue

of $264 million, making it one of the country’s 100 largest nonprofits.” Id.




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         86.   Nonetheless, payment of patient insurance premiums by third-parties has been a

consistent concern of the HHS, which has counseled insurers to reject such payments because of

the overall impact they have on the cost of healthcare.

         87.   For example, the HHS Secretary recently explained in a November 4, 2013 FAQ

that: “HHS has significant concerns with this practice because it could skew the insurance

risk pool and create an unlevel field in the Marketplaces. HHS discourages this practice and

encourages issuers to reject such third party payments.”

         88.   And in a May 30, 2014, Supplemental Special Advisory Bulletin, the HHS OIG

noted that (i) donor contributions to charities with patient assistance programs as well (ii) grants

made by such charities could violate anti-kickback provisions, and emphasized the following

example as one raising especial concerns:

       [W]e also expressed our concern that, in some cases, charities might define their
       disease funds so narrowly that the earmarking effectively results in donor’s
       subsidization of its own products . . . .

       A charity with narrowly defined disease funds may be subject to scrutiny if
       the disease funds result in funding exclusively or primarily the products of
       donors or if other facts and circumstances suggest that the disease fund is
       operated to induce the purchase of donors’ products.

         89.   Consistent with these concerns, the 1997 Advisory Opinion, set forth specific

guidelines that AKF and certain donating providers would need to follow for AKF’s premium

payment program to avoid being subject to civil monetary penalties.

         90.   Among other limitations/conditions, the OIG stated that AKF could not track the

amount of contributions made by each dialysis provider and then apportion funds to each

provider’s patients in proportion to the amount of the dialysis provider’s contributions.

Specifically, OIG stated that AKF could not “earmark” “contributions…for the use of particular

beneficiaries or groups of beneficiaries,” “take into account the identity of the referring provider


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or the amount of any donation top AKF by such provider,” or “assure” providers “that the

amount of HIPP assistance their patients receive bears any relationship to the amount of their

donations.” 1997 Advisory Opinion at 6.

           91.   The OIG also stated that providers likewise could “not track the amounts that

AKF pays on behalf of patients dialyzing at their facilities in order to calculate amounts of future

contributions[.]” Id.

           92.   Finally, the OIG emphasized that HIPP assistance should be “available to any

financial needy ESRD patient regardless of provider” and should not be “limited to patients of

the [donating] companies.” Id.

           93.   Before the commencement of the UnitedHealthcare Action in July 2016, AKF

publicly stated that it operated its HIPP program “strictly in accordance” with the 1997 Advisory

Opinion.

           94.   But AKF’s detailed public description of its program showed that the program

directly contravened the 1997 Advisory Opinion by instructing and requiring donors to calculate

the amounts of their future contributions based on the draw they expected their patients to take,

and limiting access to premium assistance to patients of providers who donated their “fair share.”

           95.   AKF’s description of its HIPP Guidelines in May 2014 (i.e., the official policies

and procedures for the premium assistance program) (“Guidelines”) contained a section

describing what AKF called its “HIPP Honor System.” In that section, AKF instructed that

“each referring dialysis provider should make equitable contributions to the HIPP pool.”

Guidelines at 5. AKF also wrote that each provider should “reasonably determine its ‘fair share’

contribution to the pool [i.e. the funds available for premium assistance] by considering the

number of patients it refers to HIPP.” Id. And AKF emphasized that all providers had an



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“ethical obligation to contribute their respective ‘fair share’ to ensure that the HIPP pool is

adequately funded.” Id. Finally, AKF told providers that “[i]f your company cannot make fair

and equitable contributions, we respectfully request your organization not refer patient to

the HIPP program . . . .” Id.

         96.   Since the filing of the UnitedHealthcare Action, AKF has altered its description

of its eligibility requirements in order to obfuscate its violation of the 1997 Advisory Opinion,

stating nebulously that: “HIPP is restricted to patients who have limited means (based on

income to debt ratio) of paying primary and/or secondary health insurance premiums and who

would lose coverage in the absence of assistance form HIPP.” HIPP Guidelines at 7 (Aug. 2016).

         97.   However, various investigative news reports have since confirmed that AKF did

not abide by the 1997 Advisory Opinion’s conditions before and during the Class Period. For

example, a New York Times exposé found that “the charity has resisted giving aid to patients at

clinics that do not donate money to the fund.” December 2016 New York Times Article. That

investigation discovered that, “[i]n multiple cases, the charity pushed back on workers at clinics

that had not donated money, discouraging them from signing up their patients for assistance.

Until recently, the Kidney Fund’s guidelines even said clinics should not apply for patient

aid if the company had not donated to the charity.” Id.

         98.   The New York Times further found that “[f]or years . . . the Kidney Fund’s

preference for patients at the biggest clinics has been an open secret among many social workers,

who said that as result they had stopped applying for assistance entirely.” Id.

         99.   CW2 has confirmed the New York Times’ account, stating that CW2 saw

correspondence between AKF and ARA, wherein AKF stated that ARA should not apply for

patient payment assistance in excess of the amount donated by ARA to AKF.



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         100. The AKF’s failure to abide by the 1997 Advisory Opinion subjects it to serious

consequences. As the New York Times further reported, “if the rules are not followed, the Office

of the Inspector General has the right to end the agreement, which would profoundly change

the relationship of the industry and the charity.” Id. In other words, “‘[i]f all the conditions

are not met, the opinion is without force and effect,’ said Donald White, a spokesman for the

agency.” Id.

D.      Defendants’ Scheme: Steering Patients to More Profitable Commercial Insurance
        and Using its AKF Donations as a Slush Fund to Pay Their Patients’ Premiums

         101. As noted above, ARA is reimbursed for its services through a combination of

payments received from its patients’ insurance plans and from the patients themselves in the

form of the deductible, copay, and coinsurance obligations required by each patient’s respective

insurance plan. Although the services that ARA provides to a patient do not vary depending on

the patients’ insurance plan, the reimbursement or “benefit” payment that ARA receives from the

patients’ insurer for those services varies greatly depending on the patient’s coverage.

         102. For example, according to the complaint filed in the UnitedHealthcare Action, if

patients are covered by Medicaid, ARA would receive the State Medicaid reimbursement rate.

But if patients are covered by a private, out-of-network commercial plan, ARA can receive the

out-of-network reimbursement rate for the same services, which can amount to several thousand

dollars and can exceed the Medicaid reimbursement rate by a factor of twenty or more.

         103. Tempted by these economics, ARA implemented a scheme prior to and during the

Class Period designed to maximize the number of its patients covered by commercial insurance

plans offered on the ACA exchanges, and thereby capture greater reimbursement payments vis-

á-vis government insurance. Specifically, ARA endeavored to cause ESRD patients to drop or




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move away from primary government insurance and convert to commercial insurance plans

under the ACA.

        104. CW2 explained that he was one of the first employees to get a patient enrolled on

an ACA commercial plan instead of Medicare, and that CW2 was instructed to do this by Ms.

Jennifer Cordeiro.    According to CW1 and CW2, Ms. Jennifer Cordeiro “spearheaded”

management’s efforts to steer ARA’s patients to ACA commercial plans. CW2 added that Ms.

Cordeiro berated CW2 for at times when CW2 signed patients up for Medicaid rather than

private ACA insurance.

        105. CW2 explained that ARA’s initial practice for patients without insurance or with

expiring insurance was to call Medicare, determine how many Medicare credits the individual

had, and sign the patient up for Medicare if possible. CW2 further explained that once ARA

determined that the reimbursements from marketplace insurance plans were much greater than

Medicare reimbursements, ARA began steering patients to ACA exchanges.

        106. According to CW2, part of the process for getting ARA’s patients coverage on the

ACA, was getting them denied for Medicare. CW2 relayed that there is a so-called “entitlement

form,” known as “ESRD 2728,” that is filled out by the nephrologist and has a “Medicare box,”

which indicates whether the patient was eligible for Medicare benefits. CW2 further explained

that he observed ARA dialysis clinics intentionally decline to check this box.

        107. ARA also aggressively pushed commercial insurance plans under the guise of an

“insurance education” program for its patients.

        108. As Admissions Team Lead, CW1 was involved with ARA clinics in several states,

including Ohio, and personally took part in pitching insurance coverage to ARA’s patients.




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According CW1, CW1’s immediate supervisor made clear that the goal of patient education was

to “sell” private insurance.

         109. CW1 explained that many of ARA’s patients were on Medicaid, and that CW1

and CW1’s coworkers frequently discussed with these patients the kinds of commercial

insurance plans that could be obtained on the ACA exchanges. According to CW1, states

differed as to whether they “coordinate,” meaning whether they permitted individuals to have

both Medicaid and a marketplace plan.

         110. CW1 further explained that because getting patients with Medicaid coverage to

also obtain marketplace coverage was far more profitable for ARA, management tasked ARA’s

legal department with determining all the states that permitted coordination. Once armed with

that information, ARA engaged in a “big push” in late 2015 and early 2016 to get patients onto

commercial plans during the open enrollment period.

         111. CW1 stated that ARA’s management emphasized increasing the amount of

patients with commercial coverage, “would not take no for an answer” if ARA personnel

disagreed with that kind of patient interaction, and placed “a lot of pressure” on personnel and

patients. Such pressure included trying to get patients to enroll in a commercial plan on the same

day they were first receiving the purported “insurance education” from ARA personnel.

         112. CW1 believed that ARA’s push to sign certain of its patients up for commercial

insurance plans was improper because those plans were unnecessary since many of their patients

already had coverage under government programs. CW1 confirmed that these practices created

friction between the clinics and management, who CW1 believed were placing revenues ahead of

the needs of patients. CW1 claims to have voiced displeasure with ARA’s practices, but those




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complaints were not well-received by ARA’s management, which is why CW1 ultimately

resigned.

         113. Similarly, CW2 resigned because CW2 did not agree with ARA’s practice of

patient steering, a concern which CW2 raised with ARA’s Compliance Officer during CW2’s

exit interview.

         114. One impediment to ARA’s scheme was that its ESRD patients received dialysis

treatments at little or no charge under government insurance, but would be responsible for

substantial additional costs/premiums under commercial insurance plans.           Because ARA’s

patients were often elderly and indigent, any additional out-of-pocket costs would render the

commercial plans economically unfeasible. ARA’s solution was to make donations to the AKF,

which, in turn, were then granted to ARA’s patients to cover their commercial insurance

premiums.

         115. As explained by CW2, ARA had few contracts with insurance providers, and

therefore their ARA services were “out-of-network with everyone.” This resulted in potential

out-of-pocket deductibles for ARA’s patients who ARA steered to private insurance. CW2

explained that ARA avoided this problem by getting their patients assistance from AKF, and that

CW2 was not aware of a single instance where AKF denied assistance to an ARA patient.

         116. ARA controlled every step in the relationship with AKF. ARA introduced the

HIPP program to patients in ARA clinics; provided them with the requisite application for

assistance; assisted the patients in filling out that application; and submitted the applications on

their behalves. CW2 explained that ARA had access to AKF’s computer system in order to

check the status of patients’ applications, i.e., whether they were “approved” or “pending.”




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        117. Critically, ARA then ensured that the patients would receive HIPP assistance by

making “charitable contributions” to AKF, earmarked for the patients’ premiums in accordance

with the AKF policy in place at the time. Many patients would bring bills they received for

premium obligations into the ARA clinic and ARA would ensure that the premiums were paid

for by AKF. Other patients were instructed that AKF would send premium assistance checks

directly to them so that they could make the premium payments in order to avoid detection by

insurance plans that did not accept third-party premium payments.

        118. ARA’s involvement with AKF, however, was in knowing violation of the 1997

Advisory Opinion that exempted AKF from anti kick-back laws. Among other violations, ARA

was only permitted to obtain premium assistance for its patients up to the amount it contributed

to AKF, as explained on AKF’s website. In this connection, CW2 saw correspondence between

AKF and ARA, wherein AKF stated that ARA should not apply for patient payment assistance in

excess of the amount donated by ARA to AKF.

        119. The Honor System quid-pro-quo was not the only way ARA and AKF

contravened the representations AKF had made to, and guidelines it had obtained from, the OIG.

Before this lawsuit was initiated, according to AKF’s own description of its program, patients

whose dialysis services were covered by Medicaid, Medicare or another public-assistance

program were not eligible for HIPP assistance to pay for alternate commercial coverage. AKF

explicitly stated that its HIPP program was “a ‘last resort’ source of assistance” to dialysis

patients and its funds were “restricted to patients who have limited means of paying health

insurance premiums…and who would forego coverage” without the benefit of HIPP. Guidelines

at 6. AKF emphasized that “[a]lternative programs that pay for primary or secondary health

coverage… such as Medicaid… must be utilized first.” Id. (emphasis in original).



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        120. And yet, ARA repeatedly and systematically submitted HIPP applications to AKF

on behalf of patients that did not meet the program’s eligibility requirements because they had or

were eligible for Medicaid or Medicare. AKF then ignored its own program requirements in

determining whether to distribute funds to ARA patients, and provided unnecessary grants to

dozens of patients who were fully insured at the time their applications were submitted by ARA.

        121. CW2 explained that, prior to the UnitedHealthcare Action, one of the ACA’s

insurance plans onto which ARA steered its patients – and for which it patients received AKF

assistance – was Blue Cross HMO. According to CW2, once Blue Cross HMO learned that it

was losing money reimbursing ARA for dialysis treatments that were reimbursable at a fraction

of the price from public insurance, it started demanding refunds from ARA.

E.      Defendants’ Materially False and Misleading Statements

        1.    The IPO Prospectus

        122. On or about April 20, 2016, ARA filed with the SEC an amended Form S-

1/A Registration Statement (the “Registration Statement”) that incorporated a prospectus to be

used in connection with the offer and sale of ARA shares.

        123. The Registration Statement was signed by the Individual Defendants (with the

exception of Defendant McDonough) pursuant to a power of attorney on April 20, 2016.

        124. On or about April 22, 2016, ARA filed the final version of the IPO prospectus,

which formed part of the Registration Statement that became effective on April 20, 2016 (the

“Prospectus”). The Prospectus solicited investors for an IPO of 8,625,000 shares of ARA

common stock (including the over-allotment option) at a price of $22.00 per share, for proceeds

to the Company of approximately $176,900,000.




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         125. With respect to ARA’s business practices, the Prospectus stated, inter alia, that

ARA: (i) had a “robust compliance” program and adhered to “stringent billing, reimbursement,

and compliance procedures”; (ii) provided “[e]xperienced managerial and operational support”

for “key functions such as clinical and technical services, billing, collections, payor contracting,

regulatory and compliance”; (iii) provided “[p]roactive education to patients . . . on insurance

coverage to help alleviate cost and scope of coverage concerns.”               Prospectus at 100.

Additionally, ARA stated that “[o]ur nephrologists appreciate the quality of our dialysis clinics,

best practices management services and solid track record of clinical and regulatory

compliance,” id. at 2, and that ARA “endeavor[s] to structure” it business “to comply with

applicable laws and regulations,” including federal and state “anti-kickback and self-referral

laws,” id. at 33.

         126. The Prospectus also described ARA’s growth strategy as follows:

        Our Growth Strategy

        We believe our focus on the JV model, our core values and the strength of our
        experienced management team have driven the growth in our patient population
        and physician relationships, and position us to execute on the following growth
        strategies.

        …
        Deliver on Our Core Values with Best Practices Management Services

        We intend to continue to focus on providing high-quality patient care, clinical
        autonomy to physicians and extensive professional, operational and managerial
        support to our clinics through management services arrangements. Based on our
        experience in the dialysis services industry, we will continue to follow a
        disciplined approach to enhancing performance in key areas such as:
        revenue cycle management; patient registration; facilitation and verification
        of insurance; payor interaction and arrangements; and billing and
        collection. We believe this has positively impacted our revenue per treatment and
        allowed us to maintain low levels of days’ sales outstanding and bad debt expense.
        In addition, we believe our management services reduce the burden of back-
        office management responsibilities associated with the daily operations of a
        dialysis clinic and enable our physician partners to focus on providing high-


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           quality patient care. As a result, we consistently deliver high-quality clinical
           outcomes.

Id. at 8

            127. The statements in ¶¶ 125 and 126 above, were materially false and/or misleading

because they misrepresented and failed to disclose the adverse facts, which were known to

Defendants or recklessly disregarded by them. Defendants’ assertion that ARA maintained a

“disciplined approach to enhancing performance,” and that they maintained a “robust

compliance” program were directly contrary to the facts that ARA: (i) was improperly and

aggressively steering patients eligible for government insurance coverage to private commercial

insurance plans in order to increase revenues per treatment; (ii) was improperly funding AKF

knowing that those funds would be earmarked to make premium assistance payments to patients

that ARA could not make directly, despite the fact the HHS had already expressed grave

reservations concerning this practice; (iii) knew that AKF limited its HIPP program to its donor

clinics’ patients, and in an amount proportional to the clinics’ donations, in violation of the 1997

Advisory Agreement; (iv) assisted Medicare and Medicaid eligible patients’ applications to AKF,

contrary to AKF’s published guidelines; and (v) knew that its practices were being scrutinized by

commercial insurance providers, such as Blue Cross.

            128. At a minimum, Defendants knew, but failed to disclose, that their undisclosed

practice of patient steering in conjunction with AKF’s HIPP program, which appeared to violate

the 1997 Advisory Opinion, raised a significant risk of increased scrutiny or challenge from

insurance providers/government regulators, and thereby rendered tenuous a significant segment

of ARA’s business, which was attributable to reimbursements received from commercial

insurance coverage.




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            129. Defendants also identified the following investment risks:

        An investment in shares of our common stock involves substantial risk and
        uncertainties that may adversely affect our business, financial condition and result
        of operations and cash flows. Some of the more significant challenges and risks
        relating to an investment in us involve, among other things, the following:

        •      decline in the number of patients with commercial insurance or decline
               in commercial payor reimbursement rates;

               …

        •      changes to the Medicare ESRD program that could affect reimbursement
               rates and evaluation criteria, as well as changes in Medicaid or other non-
               Medicare government programs or payment rates;

        •      federal or state health care laws that could adversely affect us;

        •      our ability to comply with all of the complex federal, state and local
               government regulations that apply to our business, including those in
               connection with federal and state anti-kickback laws and state laws
               prohibiting the corporate practice of medicine or fee-splitting, and risks
               arising from heightened federal and state investigations and enforcement
               efforts.

Id. at 9-10.

            130. Defendants also identified the following “Risks Related to Our Business”:

        We depend on commercial payors for reimbursement at rates that allow us to
        operate at a profit.

        Commercial payors pay us at rates that are generally significantly higher
        than Medicare rates and the rates paid by other government-based payors
        such as state Medicaid programs. For the three years ended December 31,
        2015, we derived on average approximately 40% of our patient service
        operating revenues from commercial payors, including for non-
        contracted providers, even though commercial payors were the source of
        reimbursement for on average approximately 13% of the treatments
        performed during the three years ended December 31, 2015. Medicare rates
        are generally insufficient to cover our total operating expenses allocable to
        providing dialysis treatments for Medicare patients. As a result, our ability to
        generate operating earnings is substantially dependent on revenues derived
        from commercial payors, some of which pay negotiated payment rates and
        others of which pay based on our usual and customary fee schedule. To the
        extent the proportion of commercial payors decreases relative to government


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payors as a source of reimbursement for treatments, it would have a material
adverse effect on our revenues, operating results and cash flows.

If the number of patients with commercial insurance declines, our operating
results and cash flows would be adversely affected

Our revenues are sensitive to the number of patients with commercial
insurance coverage. A patient’s insurance coverage may change for a number of
reasons, including as a result of changes in the patient’s or a family member’s
employment status. Factors that may cause an increase in the number of patients
who have government-based programs as their primary payors include: recent
economic conditions, the expansion of certain state Medicaid programs under
healthcare reform laws, improved longevity and lower standard mortality rates for
ESRD patients, resulting in a lower percentage of patients covered under
employer group health plans or other commercial insurance plans. To the extent
there are sustained or increased job losses in the United States, we could
experience a decrease in the number of patients under employer group health
plans. We could also experience a further decrease if changes to the
healthcare regulatory system, including as a result of healthcare reform laws,
result in fewer patients covered under employer group health plans or other
commercial insurance plans. In addition, our continued negotiations with
commercial payors could result in a decrease in the number of patients under
commercial insurance plans to the extent that we cannot reach agreement with
commercial payors on rates and other terms. If there is a significant reduction in
the number of patients insured through commercial insurance plans relative
to patients insured through government-based programs, it would have a
material adverse effect on our revenues, earnings and cash flows.

                                      ***

If we do not continuously obtain new patients by commercial insurance, our
operating results and financial condition would be adversely affected.

. . . . If there is a significant reduction in the number of new dialysis patients
covered by commercial insurance, we would not receive the benefit of the 30-
month coordination period of higher reimbursement rates from commercial
payors, which would materially adversely affect our operating results and
cash flows.

                                      ***

Federal or state healthcare reform laws could adversely affect our operating
results and financial condition.

In March 2010, President Obama signed into law the Patient Protection and
Affordable Care Act and the Health Care and Education Reconciliation Act,


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commonly and jointly referred to as the Affordable Care Act (the ACA). The
ACA, among other things, increased the number of individuals with private
insurance coverage and Medicaid, implemented reimbursement policies that tie
payment to quality, facilitated the creation of accountable care organizations that
may use capitation and other alternative payment methodologies, strengthened
enforcement of fraud and abuse laws and encouraged the use of information
technology. Some of these changes require implementing regulations which have
not yet been drafted or have been released only as proposed rules.

While the ACA was intended to increase the number of insured persons by
expanding eligibility for public programs or assistance and compelling individuals
and employers to purchase health coverage, the ACA may increase pricing
pressure on existing commercial payors by seeking to reform the underwriting
and marketing practices of health plans. As a result, some commercial payors
have sought and may continue to seek to lower their rates of reimbursement
for the services we provide . . . .

We expect that additional federal and state healthcare reform measures will be
adopted in the future and cannot predict how employers, private payors or persons
buying insurance might react to these changes. Full implementation of the ACA
or any future healthcare reform legislation may increase our costs, limit the
amounts that federal and state governments and other third-party payors
will pay for healthcare products and services, expose us to expanded liability
or require us to revise the ways in which we conduct our business, any of
which could materially adversely affect our business, results of operations
and financial condition.

                                      ***

If we fail to adhere to all of the complex federal, state and local government
regulations that apply to our business, we could suffer severe consequences that
could adversely affect our operating results and financial condition.

Our dialysis operations are subject to extensive federal, state and local
government regulations, all of which are subject to change. These government
regulations currently relate, among other things, to:

•   government healthcare program participation requirements;

•   requirements related to reimbursement for patient services, including
    Medicare and Medicaid reimbursement rules and regulations, rules
    addressing the priority of payors, signature and documentation requirements,
    and coding requirements;




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       •   federal and state anti-kickback laws, the federal physician self- referral
           prohibition statute (the “Stark Law”) and analogous state physician self-
           referral statutes;

       •   false claims prohibitions for healthcare reimbursement programs and
           other fraud and abuse laws and regulations, including the federal False
           Claims Act, a provision in the ACA extending the federal False Claims Act to
           include, under certain circumstances, claims based on violations of the
           federal anti-kickback law, and other civil monetary penalty laws, including
           laws prohibiting offering or giving remuneration to any beneficiary of a
           federal healthcare program that such person knows or should know is
           likely to influence the beneficiary to order or receive any item or service
           reimbursable under such program.

Id. at 20, 21, 29-31.

       131.    The statements ¶¶ 129 and 130, were materially false and/or misleading because

they misrepresented and failed to disclose adverse facts, which were known to Defendants or

recklessly disregarded by them. Defendants’ statements regarding the importance of obtaining

patients with commercial insurance coverage and the impact of their failure to comply with

applicable regulations were misleading because Defendants failed to disclose that ARA: (i) was

improperly and aggressively steering patients eligible for government insurance coverage to

private commercial insurance plans in order to take advantage of higher reimbursement rates; (ii)

was improperly funding AKF knowing that those funds would be earmarked to make premium

assistance payments to patients that ARA could not make directly, despite the fact the HHS had

already expressed grave reservations concerning this practice; (iii) knew that AKF limited its

HIPP program to its donor clinics’ patients, and in an amount proportional to the clinics’

donations, in violation of the 1997 Advisory Agreement; (iv) assisted Medicare and Medicaid

eligible patients’ applications to AKF, contrary to AKF’s published guidelines; and (v) knew that

its practices were being scrutinized by commercial insurance providers, such as Blue Cross. This




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unethical and reckless practice left the Company vulnerable to both civil and potentially criminal

liability pursuant to, among other things, anti-kickback and insurance fraud statutes.

       132.    Similarly, Defendants incomplete representation that “it is possible that some of

our business activities could be subject to [anti-kickback] laws” misled investors because it

failed to disclose that ARA’s core business model, and a significant portion of the Company’s

revenues, were, in fact, dependent on unethical and/or illegal business practices. Defendants

knew that the AKF’s HIPP program – based on AKF’s public description of how the program

operated – violated the 1997 Advisory Opinion, thereby rendering its protections from anti-

kickback provisions void.

       133.    Defendants also omitted material facts from investors when they failed to disclose

that a large portion of ARA’s revenue was derived from insurance plans in which an industry-

funded not-for-profit entity was improperly paying patients’ premiums. In fact, AKF, the not-for-

profit at issue, was not mentioned once in the Prospectus.

       134.    At a minimum, Defendants knew, but failed to disclose, that their practice of

patient steering in conjunction with AKF’s HIPP program, which appeared to violate the 1997

Advisory Opinion, raised a significant risk of increased scrutiny or challenge from insurance

providers/government regulators, and thereby rendered tenuous a significant segment of ARA’s

business, which was attributable to reimbursements received from commercial insurance

coverage.

         2.    May 12, 2016 Press Release, May 13, 2016 Earnings Call, and May 16, 2016
               Q1 Form 10-Q

       135.    On May 12, 2016, prior to the opening of U.S. securities markets, the Company

issued a press release announcing its financial results for the first quarter ended March 31, 2016.

For the quarter, the Company reported that net patient service operating revenues increased 15%


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to $172.1 million, and that adjusted EBITDA less non-controlling interests (“Adjusted EBITDA-

NCI”) increased 9% to $27.2 million. Net income attributable to ARA increased 31% to $3.8

million, and total dialysis treatments increased 15%.

       136.    During the question and answer portion of ARA’s earnings call held the next day,

Defendant John McDonough, ARA’s Chief Operating Officer, attributed the increase in revenue

to the increase of patients signing up for Affordable Care Act (“ACA”) plans, in response to an

analysts inquiries:

       ANA GUPTE, LEERINK PARTNERS – ANALYST

       Okay. The second question was about -- you saw improvement in both revenue
       per treatment -- your mix shift, it looks like [it’s just] commercial a little bit. And
       then cost of treatment also has come in a little better. But do you think on a
       normalized basis, there is still more operating profit per treatment improvement
       that is possible . . .?

       DEFENDANT McDONOUGH

       And I’ll start with the first part on the revenue side. And what I can comment on
       the revenue side, year-over-year we saw about $1.50 increase on a per treatment
       on revenue per treatment. And as Jon noted, that was mainly driven by
       commercial mix. In the underlying of that is, we’ve seen some more patients
       covered under ACA plans as we go into the first quarter. And that’s good for
       patients because these are patients that would not have been – would not
       maybe have insurance coverage or has better insurance coverage under an
       ACA plan than the alternative. So that’s been good for patients, and that’s
       really been the driver of our increase in our revenue per treatment year-
       over-year.

                                               ***

       DAVID MacDONALD, SUN TRUST ROBINSON HUMPHRY – ANALYST

       Okay. And then, guys, one other quick question just on payer mix. If you look
       year-over-year, did payer mix continue to tick up modestly? And is that largely
       being driven by some exchange business? Just any color on payer mix that you
       had.




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       DEFENDANT McDONOUGH

       As Jon mentioned off in his prepared remarks is that we have seen a slight
       improvement in payer mix. And as I just said, the underlying – what we see is
       patients opting for an ACA product. And those are patients that previously
       maybe wouldn’t be covered under an insurance or a plan, or the ACA has offered
       them better coverage than their alternative.

       137.    The statements in the preceding paragraph concerning ARA’s “commercial mix”

of business, which includes patients covered by insurance plans offered on the ACA exchanges,

were materially false and/or misleading because they misrepresented and failed to disclose

adverse facts, which were known to Defendants or recklessly disregarded by them. Defendants’

statements were misleading because Defendants failed to disclose that ARA: (i) was improperly

and aggressively steering patients eligible for government insurance coverage to private

commercial insurance plans in order to inflate revenues per treatment; (ii) was improperly

funding AKF knowing that those funds would be earmarked to make premium assistance

payments to patients (that ARA could not make directly), despite the fact the HHS had already

expressed grave reservations concerning this practice; (iii) knew that AKF limited its HIPP

program to its donor’s patients, and in an amount proportional to their donations, in violation of

the 1997 Advisory Agreement; (iv) assisted Medicare and Medicaid eligible patients’

applications to AKF, contrary to AKF’s published guidelines; and (v) knew that its practices

were being scrutinized by commercial insurance providers, such as Blue Cross. This unethical

and reckless practice left the Company vulnerable to both civil and potentially criminal liability

pursuant to, among other things, anti-kickback and insurance fraud statutes.

       138.    Defendants’ statement that patients had “opted” for ACA plans was also false or

misleading because it intimated that ARA’s patients chose such coverage of their own volition.




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This was false, as many patients had opted for this choice only after ARA had advised them of

this option, and successfully induced them to sign up by utilizing AKF to pay their premiums.

       139.   At a minimum, Defendants knew, but failed to disclose, that their practice of

patient steering in conjunction with AKF’s HIPP program, which appeared to violate the 1997

Advisory Opinion, raised a significant risk of increased scrutiny or challenge from insurance

providers/government regulators, and thereby rendered tenuous a significant segment of ARA’s

business, which was attributable to reimbursements received from commercial insurance

coverage.

       140.   On May 16, 2016, the Company filed a quarterly report for the period ended

March 31, 2016 on a Form 10-Q with the SEC (the “Q1 Form 10-Q”), signed by, Defendant

Wilcox, which reiterated the Company’s previously announced financial results and financial

position. In addition, the Form 10-Q contained signed certifications pursuant to the Sarbanes-

Oxley Act of 2002 (“SOX”) by Defendants Carlucci and Wilcox, stating that the financial

information contained in the Form 10-Q was accurate and disclosed any material changes to the

Company’s internal control over financial reporting.

       141.   The Q1 Form 10-Q incorporated by reference “the risk factors previously

disclosed in the ‘Risk Factors’ section of the Prospectus.” Those risk factors, which are quoted

above at ¶¶ 129 to 130, were false and misleading for the same reasons set forth above in

paragraphs ¶¶ 131 to 134.

        3.    The UnitedHealthcare Action, ARA’s July 15, 2016 Form 8-K, and the
              Anthem Announcement: The Truth Begins to Emerge

       142.   On July 1, 2016, UnitedHealth commenced an action in the United States District

Court of the Southern District of Florida against ARA alleging that ARA fraudulently billed

UnitedHealth for millions of dollars since the beginning of the year. Specifically, the complaint



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alleges that ARA engaged in a fraudulent and illegal scheme to convert ESRD patients in Florida

and Ohio from affordable government insurance to United’s commercial plans, in order to reap

much higher payments.

       143.      Specifically, the UnitedHealthcare Action charges that:

       •      [S]ince the beginning of the year, ARA has systematically targeted these
              Medicaid- and Medicare-eligible patients and, through deception and
              unlawful means, has convinced them to drop or reject their affordable
              government insurance options and enroll in United’s commercial plans.
              (Complaint at ¶ 5, UnitedHealthcare, No. 16 Civ. 81189 (S.D. Fla. July 1,
              2016), ECF No. 1).

       •      The lone motivating factor behind ARA’s patient conversion efforts is ARA’s
              desire to maximize its own profits. (Id. at ¶ 4).

       •      Medicaid and Medicare pay ARA a reimbursement rate of $300 or less for
              one session of dialysis services rendered to an ESRD patient (the Medicaid
              rates in Florida and Ohio are less than $200 for one session of dialysis
              services). (Id. at ¶ 5).

       •      Knowing of its out-of-network status with United plans, and believing that it
              can ill United more than $4,000 for the same services being rendered to
              Medicaid and Medicare-eligible ESRD patients, ARA has endeavored to
              cause those patients to drop their government insurance and enroll in
              United’s commercial plans. For at least the past year, ARA has succeeded,
              causing many ESRD patients to move off of or away from Medicaid and/or
              Medicare and onto a commercial plan offered by United. ARA has then
              submitted charges to United seeking to be paid benefits for dialysis services
              rendered to those patients that exceed by a factor of more than twenty times
              the reimbursement amount ARA would receive were it to bill certain
              government insurance plans for those services. (Id. at ¶ 7).

       •      To implement its scheme against United, ARA needed to overcome the
              financial limitations of the vulnerable patient population ARA wanted to use
              to increase its profits. Specifically, ARA needed to figure out how to
              convince ESRD patients (many of whom are indigent, and who, under their
              Medicaid and Medicare plans, had little to no personal financial
              responsibility for their medical and pharmaceutical benefits) to take on the
              premium, copay, coinsurance and deductible obligations associated with
              United commercial plans. (Id. at ¶ 8).




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       •      The solution ARA implemented was deceptive, fraudulent, and illegal. (Id. at
              ¶ 9).

       •      First, ARA secured premium assistance from a third-party, the American
              Kidney Fund (“AKF”), to cover the patients’ commercial plan premiums.
              Upon information and belief, AKF’s financial assistance was funded by
              earmarked donations ARA made to the 501(c)(3) organization for this very
              purpose. (Id. at ¶ 10).

       •      Second, ARA counseled patients and assisted them with enrollment in the
              commercial plans that were most favorable to ARA—i.e., plans that would
              result in the highest out-of-network reimbursement to ARA. (Id. at ¶ 11).

       •      Third, ARA illegally, and in violation of the language of the applicable
              commercial plans, waived the patients’ copay, coinsurance and deductible
              obligations to ARA. (Id. at ¶ 12).

       144.     According to the UnitedHealthcare Complaint, “ARA’s actions violated several

important criminal and civil laws, including Florida’s prohibitions on false and fraudulent

insurance claims (Fla. Stat. § 817.234), Florida’s Patient Brokering Act (Fla. Stat. § 817.505),

Florida’s Anti- Kickback Statute (Fla. Stat. § 456.054), and Florida’s Deceptive and Unfair

Trade Practices Act (Fla. Stat. § 501.201 et seq.) (“FDUTPA”).” Id. at ¶ 14.

       145.     UnitedHealth further alleged that it had “already paid millions of dollars in

benefits to ARA” for claims ARA submitted as part of its illegal and unethical conversion and

billing scheme. Id. at ¶ 16.

       146.     While UnitedHealth sued only for payments made on behalf of Ohio and Florida

patients, it made clear that “ARA’s scheme does not appear to be limited to Ohio and Florida,”

noting that the California Department of Managed Health Care recently sought further

information from UnitedHealth regarding out-of-network requests submitted for outpatient

dialysis performed by an ARA subsidiary. Id. ¶¶ 109-13.

       147.     CW2 has confirmed that ARA’s practice was not limited to Florida and Ohio, or

limited to any particular commercial insurers.

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       148.     The    New    York    Times and the       Wall   Street   Journal   reported   on   the

UnitedHealthcare Action after the close of market on Friday, July 1, 2016. The New York

Times article focused on AKF and its questionable relationship with dialysis providers.

       149.     Specifically, the New York Times noted that AKF has close ties to the dialysis

industry:

        [D]ialysis companies pay for [AKF’s] premium-assistance program, and in 2015,
        78 percent of its $264 million in revenue came from two companies, according to
        its financial disclosures. The kidney fund declined to name the companies. The
        organization’s chairwoman is a former executive at DaVita and Fresenius Medical
        Care, the nation’s two leading dialysis chains.

        Those industry ties expose the profit motive that underpins the programs,
        according to Patrick Burns, executive director of Taxpayers Against Fraud,
        a whistle-blower advocacy group.

        ‘There is a bottom line here, and the people who manage these programs are well
        aware of it, on both sides,’ he said.

Reed Abelson and Katie Thomas, UnitedHealthcare Sues Dialysis Chain Over Billing, New

York Times (July 1, 2016).

       150.     The article further noted that “[k]idney transplants, rather than dialysis, are seen

as the best options for most patients with end-stage renal disease, but the American Kidney Fund

does not pay for premiums after patients receive a kidney transplant. Patients were not informed

of that.” Id. In other words, AKF would not pay for premiums once a patient became less

profitable to its donors in the dialysis industry.

       151.     On July 5, 2016 (the first day of trading since the news broke), and prior to the

opening of the U.S. securities market, Defendants issued a Form 8-K, which stated as follows:

        On July 1, 2016, American Renal Associates Holdings, Inc. (the “Company”)
        received a complaint filed by three affiliates of UnitedHealth Group Inc.
        (“United”) in the United States District Court of the Southern District of Florida.
        The complaint relates to 27 patients who have received dialysis at 12 ARA
        facilities in Florida and Ohio and who elected to receive coverage under one


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       of United’s Affordable Care Act (“ACA”) insurance products, effective on or
       after January 1, 2016. At this time, approximately 33 patients across 15
       clinics in 5 states with United ACA products receive dialysis care at the
       Company’s facilities. The complaint identifies approximately $1.9 million of
       payments made to 12 of the Company’s facilities that United claims were
       improper. The complaint seeks monetary damages and injunctive relief. The
       Company believes this lawsuit is without merit. The Company intends to
       vigorously defend itself in this legal matter; however, no assurance can be
       given as to the timing or outcome of this matter, or can any assurance be
       given as to whether the filing of this lawsuit will affect the Company’s other
       relationships, or the Company’s business generally. The Company’s top
       priority continues to be providing the highest quality care to patients that choose
       to receive dialysis services at the Company’s facilities.

       152.    Defendants’    disclosures   regarding    the   UnitedHealthcare       Action   were

misleadingly incomplete. Defendants’ statements gave the impression that the wrongful conduct

described in the UnitedHealthcare Complaint was limited in scope, impacting only 27 patients.

As Defendants later admitted however, the fraudulent scheme described in the UnitedHealthcare

Complaint was systemic, and impacted over 500 patients covered by various commercial

employers. See ¶¶ 186-88.

       153.    By the close of the market on July 5, 2016, ARA shares declined $2.82 per share

or nearly 9.88%, from $28.53 to $25.71 per share.

       154.    Additionally, the practices exposed by the UnitedHealthcare Action prompted

increased scrutiny by other commercial insurance providers who saw unexpected increases in

their payments for dialysis treatments. For example, later that month, John Gallina, the CFO of

the health insurer Anthem, Inc. reported during a July 27, 2016 earnings call that:

       We have experienced higher-than-expected payments for dialysis treatments
       during the first half of the year, which we are in the process of reviewing the
       drivers of this increase. All in, our updated outlook now expects the
       individual ACA-compliant business to incur mid single-digit operating margin
       losses for the 2016 benefit year.




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       155.    By the close of the market on July 27, 2016, ARA shares had declined by $2.18

per share, or approximately 8.20%, from $26.59 to $24.41 per share. An analyst at Barclays

Capital Inc. noted that Anthem’s comments “further exacerbated” ARA’s underperformance,

initially caused by revelations in the UnitedHealthcare Action.

       5.      August 9, 2016 Q2 Form 10-Q and August 10, 2016 Earnings Call: More
               of the Truth Is Partially Revealed

       156.    On August 9, 2016, ARA filed is Q2 Form 10-Q with the SEC, which was signed

by Defendant Wilcox. In addition, the Form 10-Q contained signed certifications pursuant to

the Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Carlucci and Wilcox, stating that the

financial information contained in the Form 10-Q was accurate and disclosed any material

changes to the Company’s internal control over financial reporting.

       157.    The August 9, 2016 Q2 Form 10-Q incorporated by reference “the risk factors

previously disclosed in the ‘Risk Factors’ section of the Prospectus.” Id. at 42. Those risk

factors, which are quoted above at ¶¶ 129 to 130, were false and misleading for the same reasons

set forth above in ¶¶ 131 to 134.

       158.    The Company also disclosed that it was under investigation by the SEC in

connection with the improper practices at issue in the UnitedHealthcare Action:

       On July 26, 2016, the Staff of the Securities and Exchange Commission (the
       “SEC”) sent a letter to the Company stating that it is conducting an inquiry and
       requesting that ARAH provide certain documents and information relating to the
       subject matter covered by the United complaint described above. The Company
       intends to respond to this request and to fully cooperate with SEC Staff. No
       assurance can be given as to the timing or outcome of these matters, nor can any
       assurance be given as to whether the filing of this lawsuit and any inquiries will
       affect the Company’s other relationships, or the Company’s business generally.

Id.




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       159.   On August 10, 2016, ARA held its Q2 Earnings Call. During the call, Defendant

Wilcox reported that increases in ARA’s revenue per treatment were attributable in large part to

increases in the number of their patients on commercial insurance plans:

       Our revenue per treatment in the second quarter was $375, or 2.8% above
       the second quarter of 2015. We have seen increases in our revenue-per-
       treatment trends, driven primarily by improvements in commercial mix,
       including growth in ACA plans and other commercial insurance products.

       As far as our commercial mix goes, we have provided additional disclosure in our
       10-Q to provide you with our trailing 12 months commercial mix. At June 30,
       2016, our LTM commercial mix was approximately 16%. This compares to the
       historical disclosure we provided of 13%, which was our three-year rolling
       average as of December 31, 2015.

       The incremental 3% is attributable primarily to patients who have chosen
       ACA plans and other commercial insurance products.

       160.   Defendant McDonough made similar statements during the earnings call, while at

the same time trying to downplay the significance of ARA’s reimbursements under ACA plans

versus other commercial plans:

       As John Wilcox shared with you, we’ve seen an uptick in our commercial mix,
       including an increase in patients who have chosen ACA plans as their
       primary insurance. The mix improvement has led to increases in our revenue per
       treatment, but it is important to emphasize that our average ACA revenue per
       treatment is below our average commercial revenue per treatment. Our
       commercial book of business is also spread out, so we do not have large
       exposures to any one payer or product.

       161.   Defendants Wilcox and McDonough’s statements were false and/or misleading

because they misrepresented and failed to disclose adverse facts, which were known to

Defendants or recklessly disregarded by them.          Defendants’ statements regarding their

commercial mix of business was misleadingly incomplete because Defendants failed to disclose

that ARA: (i) was improperly and aggressively steering patients eligible for government

insurance coverage to private commercial insurance plans in order to increase reimbursements;



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(ii) was improperly funding AKF, knowing that those funds would be earmarked to make

premium assistance payments to ARA’s patients, despite the fact the HHS had already expressed

grave reservations concerning this practice; (iii) knew that AKF limited its HIPP program to its

donor clinics’ patients, and in an amount proportional to the clinics’ donations, in violation of the

1997 Advisory Agreement; (iv) assisted Medicare and Medicaid eligible patients’ applications to

AKF, contrary to AKF’s published guidelines.

       162.    Also during that call, Defendant Carlucci attempted to downplay the significance

of the UnitedHealthcare Action, by stating that ARA had been made aware of the claims and had

previously reserved for the claims (albeit without advising investors of the claims):

       Point number one, the number of patients and the revenue recorded in connection
       with United ACA products are immaterial to the Company’s financial
       statements. As we disclosed previously in an 8-K on July 5th, after the
       complaint was filed, there are only approximately 33 patients who chose
       United ACA plans across all of ARA’s clinics, and the complaint relates to 27
       of these patients.

       ARA has previously established contractual allowances for United’s ACA
       products. In addition, of the $1.9 million in payments listed in the lawsuit, prior
       to the lawsuit, based in part on contract discussions with United, ARA had
       reserved a significant amount as a payer-refund liability on its balance sheet,
       and therefore, we believe the exposure to be immaterial . . . .

       Point number three, ARA advocates for patients by helping to educate them about
       their insurance options, so patients can then choose the best option that is
       available to them and their families . . . .

       163.    Defendants’     disclosures   regarding    the   UnitedHealthcare      Action    were

misleadingly incomplete. Defendants’ statements gave the false impression that the wrongful

conduct described in the UnitedHealthcare Complaint was limited in scope, impacting only 27

patients. As Defendants later admitted however, see ¶¶ 186-88, the fraudulent scheme described

in the UnitedHealthcare Complaint was systemic, and impacted over 500 patients covered by

various commercial employers.


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       164.   Additionally, Defendants’ statement that the impact of the misconduct alleged in

the UnitedHealthcare Action was “immaterial” was false and misleading and/or created the false

impression ARA’s ultimate exposure was only $1.9 million. As Defendants later admitted, its

cessation of business activities with AKF – the exact improper relationship at the heart of the

UnitedHealthcare Action – was projected to cost the between $17 and $24 in adjusted EBITDA

for 2016 alone.

       165.   Defendants’ disclosures regarding the UnitedHealthcare Action were also false or

misleadingly incomplete because they gave the impression that ARA’s patients had freely opted

to obtain ACA commercial insurance coverage, when ARA had in fact engaged in a high

pressure, company-wide push to steer patients on commercial insurance in order to improperly

increase ARA’s reimbursements.

       166.   Defendant Carlucci also acknowledged that ARA had funded AKF, the entity

used to pay ARA’s patients’ private insurance premiums:

       ARA is proud of the work that the American Kidney Fund does for dialysis
       patients. We, along with others in our industry, make charitable contributions to
       the American Kidney Fund, and we think nonprofit organizations like the
       American Kidney Fund do amazing work by helping needy dialysis patients. We
       think their activities are firmly on the right side of public policy.

       At ARA, we believe chronically ill, very sick patients with many comorbidities
       should always be treated with dignity and respect, and should always have access
       to quality healthcare. Patients who choose the ACA plans to cover their care
       should not be looked down upon if a charitable organization determines necessary
       funding is appropriate.

       At ARA, we will continue to fight for these patients and ensure that they receive
       excellent care at our clinics or others, so they are allowed to travel outside the
       state they live in, so they are allowed to be placed on transparent waiting lists, and
       so there [sic] are allowed to continue their entitlements through Medicaid if they
       wish to retain that as a secondary insurance.

       It is a core value at ARA to advocate for each and every patient that chooses us
       for their care, and we will see to it that the care they receive is unmatched in terms

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       of quality, convenience, and provided with dignity; that’s what we stand for at
       ARA.

       167.    Defendant Carlucci’s statements were false and/or misleading because they

misrepresented and failed to disclose adverse facts, which were known to Defendants or

recklessly disregarded by them. Defendant Carlucci’s statements regarding ARA’s relationship

with AKF failed to disclose that ARA: (i) was improperly and aggressively steering patients

eligible for government insurance coverage to private commercial insurance plans in order to

increase reimbursements; (ii) was improperly funding AKF, knowing that those funds would be

earmarked to make premium assistance payments to ARA’s patients, despite the fact the HHS

had already expressed grave reservations concerning this practice; (iii) knew that AKF limited its

HIPP program to its donor clinics’ patients, and in an amount proportional to the clinics’

donations, in violation of the 1997 Advisory Agreement; and (iv) knew that AKF approved grant

applications from Medicare and Medicaid eligible patients, contrary to AKF’s published

guidelines.

       168.    During the Q&A portion of the earnings call, Defendant John McDonough further

discussed ARA’s patients who had both ACA commercial plans and Medicaid coverage:

       JOSHUA RASKIN, BARCLAYS CAPITAL – ANALYST

       Okay, and then just last one. The individuals that are signing up for these ACA
       plans, are they previously uninsured? Or what's the mix of how many were
       previously uninsured versus how many are coming via Medicaid with Medicaid
       becoming a secondary payer?

       DEFENDANT McDONOUGH

       Yes, this is John McDonough again. So it’s a mix of patients that will choose an
       ACA, and some of those patients didn’t have insurance benefits, they’ve
       chosen the ACA. Some of the patients had had, as an example, Joe talked about it
       with United, they had Medicaid. And as you know, Medicaid is the payer last
       resort. So when a patient and their family makes the choice for an ACA, that
       becomes the primary payer and Medicaid becomes a secondary payer


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       because they are the payer of last resort. So it’s a combination of that of both
       of those categories of patients that have chosen an ACA.

       169.    Defendant McDonough also responded as follows to an analyst inquiry

concerning whether other commercial insurance providers putting downward pressure on

reimbursement rate for dialysis services in light of the UnitedHealthcare Action:

       JOANNA GAJUK, BOFA MERRILL LYNCH – ANALYST

       Right, but on the flip side, we would think that maybe there’s some pressure on
       actual commercial rates. And because of the lawsuit and also the commentary
       from other health plans about higher dialysis cost on exchange patients. So is
       there any pressure on the actual commercial rate?

       DEFENDANT McDONOUGH

       Yes, so what I would say on that is as we disclosed, our average commercial
       revenue rate on ACA plans is less than our commercial average revenue per
       treatment. So ACA plans, on average, have a lower revenue per treatment than
       commercial plans.

       As it relates to another payer that mentioned ACA plans, I would say the
       number of patients at American Renal that have chose that plan is
       immaterial. It's actually pretty similar number of patients that shows that
       plan that shows the United ACA plan, which was 33.

       170.    These statements in ¶¶ 168 and 169 were false and misleading because they gave

the impression that ARA’s patients had freely opted to obtain ACA commercial insurance

coverage, when ARA had in fact engaged in a high pressure, company-wide push to steer

patients on commercial insurance in order to increase ARA’s reimbursements. These statements

were also false and misleading because they gave the impression that number of ARA patients

that purportedly chose ACA insurance with other health plans was immaterial when, as

Defendants later admitted, the number was in excess of 500 patients. See ¶¶ 186-88.




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       171.   Defendant Carlucci also evaded an analyst question aimed at ascertaining why the

number of ARA’s patients covered by commercial insurance increased at a greater rate than the

number of ARA’s competitors’ patients covered by commercial insurance:

       GARY LIEBERMAN, WELLS FARGO SECURITIES – ANALYST

       Good morning, thanks for taking my question. It would appear that your
       commercial mix has increased faster than some of your competitors. For
       example, if you looked at DaVita's results, their revenue per treatment was
       up about $2.60 year over year versus yours of about $10, and combined with
       the information that you gave us on the increase in the commercial mix. Is there a
       reason that you all would be able to move patients into the exchange plans at
       a more rapid rate? Is there something about where your clinics are located or
       your Medicaid mix?

       DEFENDANT CARLUCCI

       Hi Gary. This is Joe Carlucci. I think it’s really important to recognize, and as you
       do, as we all do, the patients can choose the Affordable Care Act for their
       insurance. So that's an individual patient choice.

       As it relates -- as our growth relates to our competitors, we really don’t have
       empirical evidence as to what's included in our competitors’ commercial mix.
       So it's really impossible for us to compare our growth to our competitors. As
       we indicated at some point, we include the Veterans Administration in our
       commercial mix, and I think others may not. But to get into that sort of apples-to-
       apples and speculative comparisons I think would be not appropriate for us.

       172.   Defendant Carlucci’s statements were false and/or misleading because he

misrepresented and failed to disclose adverse facts, which were known to Defendants or

recklessly disregarded by them; namely, that the rapid increase in the number of ARA patients

on commercial insurance was due to ARA’s high pressure, company-wide push to steer patients

on commercial insurance in order to increase ARA’s reimbursements.

       173.   Defendant Carlucci also deferred to Darren Lehrich, ARA’s Senior Vice President

of Strategy and Investor Relations to answer questions regarding AKF’s operations:




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       GARY LIEBERMAN, WELLS FARGO SECURITIES – ANALYST

       Okay, and then I just -- how do you -- what do you think the resolution of this
       could be outside of the lawsuit? Is it on a state-by-state basis? Do the states get to
       decide if the plans are required to take the premium support to the American
       Kidney Fund and how might that play out?

       DARREN LEHRICH

       Thanks. Hey Gary. So first, I think at the federal level, HHS has provided
       guidance for third-party premium payments from not-for-profit charitable
       foundations. And the guidance from HHS has been [sound] with regard to
       AKF.

       So in the notice of benefit and payment parameters for 2017, what HHS said is
       they’re deferring the question of third-party payments by nonprofit foundations
       like AKF to future rule-making. So the next possible opportunity at the federal
       level could be the 2018 rule-making cycle. . . .

       174.   Mr. Lehrich’s statement regarding the soundness of HHS’ guidance regarding

third-party premium payments from AKF was false and misleading because he misrepresented

and failed to disclose adverse facts, which were known to Defendants or recklessly disregarded

by them; namely that AKF had been operating its HIPP program in direct violation of the 1997

Advisory Opinion. See ¶¶ 81-100.

       175.   By the close of the market on August 11, 2016, ARA’s shares declined by $0.48

per share or 2.02%, from $23.78 to $23.30 per share.

       6.     The CMS’ August 18, 2016 RFI – The End of the Class Period

       176.   On August 18, 2016, following the close of the markets, news outlets reported

that the CMS had issued a “Request for Information” (“RFI”) concerning “Inappropriate Steering

of Individuals Eligible for or Receiving Medicare and Medicaid Benefits to Individual Market

Plans.” Specifically, CMS stated:

       This request for information seeks public comment regarding concerns about
       health care providers and provider-affiliated organizations steering people eligible
       for or receiving Medicare and/or Medicaid benefits to an individual market plan


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        for the purpose of obtaining higher payment rates. CMS is concerned about
        reports of this practice and is requesting comments on the frequency and impact
        of this issue from the public. We believe this practice not only could raise
        overall health system costs, but could potentially be harmful to patient care
        and service coordination because of changes to provider networks and drug
        formularies, result in higher out-of-pocket costs for enrollees, and have a
        negative impact on the individual market single risk pool (or the combined
        risk pool in states that have chosen to merge their risk pools). We are seeking
        input from stakeholders and the public regarding the frequency and impact of this
        practice, and options to limit this practice.

                                          *    *   *

        We have heard anecdotal reports that individuals who are eligible for Medicare
        and/or Medicaid benefits are receiving premium and other cost-sharing assistance
        from a third party so that the individual can enroll in individual market plans for
        the provider’s financial benefit. In some cases, a health care provider may
        estimate that the higher payment rate from an individual market plan compared to
        Medicare or Medicaid is sufficient to allow it to pay a patient’s premiums and still
        financially gain from the higher reimbursement rates. . . .

                                          *    *   *


        CMS seeks to clarify that offering premium and cost-sharing assistance in order to
        steer people eligible for or receiving Medicare and/or Medicaid benefits to
        individual market plans for a provider’s financial gain is an inappropriate action
        that may have negative impacts on patients. CMS is strongly encouraging any
        provider or provider-affiliated organization that may be currently engaged
        in such practice to end the practice.

RFI at 1, 6, 9.

        177.      That same day, the CMS issued a press release regarding its RFI, again reiterating

its concerns “that some health care providers and provider-affiliated organizations may be

steering people eligible for, or receiving, Medicare and/or Medicaid benefits into [ACA]-

compliant individual market plans . . . for the purpose of obtaining higher reimbursement rates.”

The press release noted that CMS “also sent letters to all Medicare-enrolled dialysis facilities,”

such as ARA, “informing them of this announcement.”


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       178.   The Wall Street Journal reported on this news in an August 18, 2016 article,

issued after the close of the U.S. markets, entitled “U.S. Opens Probe Into Concerns Over

Health-Provider Payments,” which mentioned the UnitedHealthcare Action, and in pertinent part

reported:

       WASHINGTON -- The Obama administration has launched a probe into whether
       healthcare providers such as dialysis centers are steering patients eligible for
       Medicare and Medicaid benefits into insurance plans offered on the health law’s
       exchanges.

       The Centers for Medicare and Medicaid Services on Thursday said it sent warning
       letters to all dialysis centers that participate in the federal Medicare program. The
       agency also said it is weighing financial penalties on providers who are found to
       have directed people eligible for Medicare into Affordable Care Act plans instead.

       “We are concerned about reports that some organizations may be engaging in
       enrollment activities that put their profit margins ahead of their patients’ needs,”
       said CMS Acting Administrator Andy Slavitt in a news release.

       The agency said it was examining “concerns that some health care providers
       and provider-affiliated organizations may be steering people” who are eligible for
       Medicare or Medicaid into ACA plans.

       The concern, according to the CMS, is that health-care providers or organizations
       affiliated with them may be paying insurance premiums for patients who would
       otherwise qualify for Medicare and Medicaid. This would allow the patients to
       instead get coverage on the ACA exchanges from insurance companies that offer
       the providers higher reimbursement rates than are given under the federal health
       programs.

       “There is a direct conflict of interest for providers to pay patients’ premiums with
       the sole intent of increasing their own reimbursement,” said Clare Krusing, a
       spokeswoman at America’s Health Insurance Plans, an industry trade group.

       Concerns by some insurers over the potential practice have spurred legal
       action. In July, UnitedHealth Group Inc. sued kidney-care chain American
       Renal Associates Holdings Inc., accusing it of fraud. The lawsuit said
       American Renal Associates engaged in a “fraudulent and illegal scheme” to
       get larger payments from the insurer by persuading patients to sign up for
       UnitedHealth plans and connecting them with a charity, American Kidney
       Fund, that helped pay their premiums.



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       179.    The article also reported on possible monetary penalties for offenders:

       CMS said it is also considering actions, including banning or limiting
       premium payments for ACA plans by health-care providers and changes to
       Medicare and Medicaid provider enrollment rules.

       The agency said it is weighing civil monetary penalties on health-
       care providers if their actions cause Medicare-eligible patients to suffer penalties
       for signing up late to the federal program because they were steered into an ACA
       exchange plan.

       The Obama administration said it is concerned that the payment arrangements
       also may be steering sicker patients onto ACA plans, skewing the population to
       consumers who are more expensive for insurers. Some insurers have withdrawn
       or curtailed participation on the exchanges, which is where consumers go to
       obtain coverage and qualify for subsidies, citing higher-than-expected costs of
       covering patients who are older or sicker than they expected.

       180.    On this news, ARA shares declined by $2.31 per share or nearly 10.44%, from

$22.12 to $19.81 per share on August 19, 2016.

F.     Post Class Period Revelations and Developments Further Demonstrating the Falsity
       and Materiality of Defendants’ Class Period Misstatements and Omissions

       181.    On October 23, 2016, the St. Louis Post-Dispatch published an article entitled

“DaVita encouraged some low-income patients to enroll in commercial plans.” That article

confirmed that the patient steering practices of which ARA had been accused were common

practice among the nation’s largest dialysis providers.

       182.    That article revealed that complaints by insurance companies faced with

skyrocketing costs was the impetus for the CMS’ investigation: “Sudden spikes in payments to

dialysis centers raised red flags for major health insurers, and they complained to the federal

government. It was a significant financial hit they were not expecting.”

       183.    According to a spokeswoman for the industry group “America’s Health Insurance

Plans,” the dialysis providers’ patient steering was “causing instability . . . raising prices for

everyone.” This sentiment was echoed by public-policy experts: “‘If you suddenly shift these

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folks into private plans, you’re moving cost increases to marketplace plans,’ said Jack

Hoadley, a research professor at Georgetown University’s Health Policy Institute.”

       184.    After the close of the market on November 11, 2015, ARA held its Q3 Earnings

Conference Call, at which time Defendant Wilcox stressed that because “we understand the

importance of a stable marketplace,” ARA had “temporarily” suspended its relationship with

AKF: [P]ending potential new policy guidance from CMS, we are temporarily suspending

application assistance to the AKF for ACA plans for patients enrolled in pre-existing

minimal essential Medicaid coverage.”

       185.    ARA’s suspension of its involvement with AKF prior to any clear indication

from CMS that it would be limiting the use of third-party premium assistance programs, provides

powerful evidence that ARA always knew that the permissibility of AKF’s HIPP program was

highly suspect at best and subject to challenge, if not outright illegal.

       186.    Defendant Wilcox also revealed that ARA’s decision to cease aiding its clients

applications to AKF for payment assistance would materially and negatively impact ARA’s

adjusted EBITDA:

       We estimate that the annual financial impact of this temporary change to
       adjusted EBITDA less noncontrolling interests would be up to approximately
       $17 million. If CMS were to issue broader guidance that made access to
       charitable premium assistance unavailable to all ESRD patients on ACA plans,
       the estimated annual financial impact to adjusted EBITDA less noncontrolling
       interests would increase by up to an estimated $7 million.

       ...

       Our adjusted EBITDA less noncontrolling interest, or adjusted EBITDA less NCI
       during the third quarter of 2016 was $32.5 million.

       187.    In this connection, Defendant Wilcox for the first time provided a breakdown of

ARA’s patients who had commercial insurance under the ACA. Among other revelations was the



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fact that ARA had far more patients who were eligible for Medicaid but obtained coverage under

the ACA, than initially disclosed in connection with the UnitedHealthcare Action:

       At September 30, 2016, approximately 535 patients elected coverage under ACA

       plans. . . .

       [A]pproximately 300 patients that have chosen ACA plans also had Medicaid
       as secondary coverage and virtually all of these patients received assistance
       from the AKF. . . .

       Of the remaining approximately 235 patients enrolled in ACA plans,
       approximately 85% of them received assistance from the AKF HIPP
       program.

       188.     Defendant Carlucci provided further insight into the basis for the ARA’s decision

to purportedly voluntarily suspend ARA’s involvement with AKF, as well as the impact on

ARA’s business:

       So let me start my discussion with the CMS RFI that was issued on August 18.
       We welcome the CMS request for information.
       ...

       We aren’t sure when CMS will issue regulatory guidance on this topic, but in
       light of the recent CMS public commentary and the potential for policy
       changes from CMS over the next month, we have made the decision to
       temporarily suspend application assistance to the American Kidney Fund for
       charitable premium assistance for patients enrolled in minimum essential
       Medicaid coverage who are seeking additional coverage through an ACA plan
       for the 2017 open enrollment season.

       As of September 30, 2016, approximately 300 patients had pre-existing
       minimum essential Medicaid coverage and also chose additional coverage
       through an ACA plan. Virtually all of these Medicaid patients have relied on
       charitable premium assistance because they are ineligible for federal premium tax
       credits.

       If CMS establishes new policies to restrict or limit charitable premium
       assistance for ACA plans to patients with pre-existing Medicaid coverage,
       these patients will likely revert back to Medicaid-only coverage. We’re
       implementing these new policies temporarily in light of comments made by CMS
       and pending the issuance of formal CMS policies.



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       In addition, approximately 235 patients were enrolled in an ACA plan but not
       enrolled in a Medicaid program as of September 30, 2016. Approximately 85% of
       these non-Medicaid patients have relied on charitable premium assistance. Again,
       we continue to believe these patients are benefiting from ACA coverage. . . .

       ...

       Insurance coverage disruptions could result if CMS establishes new
       guidelines that extend to this subset of patients, which include both on-
       exchange and off-exchange ACA plan enrollees.

       189.    Defendant Carlucci also stated, that, as a result of the CMS’s investigation into

improper patient steering, ARA had made significant changes to its insurance education

program:

       We’ve made a number of improvements in the area of patient insurance
       education ahead of the 2017 open enrollment season. An important development
       in this area is that our patient insurance educators are receiving more intense
       training that should provide our staff with even greater proficiency when it
       comes to ACA plans and coverage options.

       190.    Finally, Defendant Carlucci advised “that John McDonough will be stepping

down from his role at ARA, effective December 31, 2016.”

       191.    Shortly thereafter, on November 21, 2016, Bloomberg News reported in an article

entitled “American Renal Cut at Goldman After Charitable Premium Suspended,” that Goldman

Sachs was taking “a more tempered view” on ARA, and cited ARA’s suspension of its activities

with AKF as “a key risk.” As a result of the Goldman Sachs downgrade, ARA shares declined

$2.09 per share, or nearly 8.67%, from $24.10 to $22.01 per share on November 21, 2016.

       192.    On December 14, 2016, the CMS issued the IFR. The CMS noted that the IFR

was based upon its review of over 800 public comments it received from various sources

including patients, providers and provider-affiliated organizations involved in the financing of

care for patients, health insurance companies and social workers.




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       193.    In particular, CMS noted that the Government had serious concerns about so-

called patient “steering” by dialysis providers, as well dialysis providers use of third-party

entities to off-set the cost of commercial insurance to further their “steering” efforts:

       HHS has recently become concerned about the inappropriate ‘steering’ of
       individuals eligible for or entitled to Medicare or Medicaid into individual
       market plans. In particular, HHS is concerned that because individual market
       health plans typically provide significantly greater reimbursement to health care
       providers than public coverage like Medicare or Medicaid, providers and
       suppliers may be engaged in practices designed to encourage individual patients
       to forego public coverage for which they are eligible and instead enroll in an
       individual market plan . . . . Further, as one tool to influence these coverage
       decisions health care providers may be offering to pay for, or arrange
       payment for, the premium for the individual market plan.

       ...

       Supporting premium payments to facilitate enrollment of their patients in
       individual markets coverage is . . . in the financial interest of the dialysis facilities.
       It is often not, however, in the best interests of individual patients.

Id. at 90214, 90215.

       194.    The CMS further observed that such “steering” took the form of dialysis providers

injecting themselves into their patients’ insurance coverage decisions, and that this created a

conflict of interest between the dialysis providers financial interests and the treatment and

wellbeing of their patients:

       Comments indicated that dialysis facilities are involving themselves in ESRD
       patients’ coverage decisions and that this practice is widespread. In addition,
       all commenters on the topic – including insurance companies, dialysis facilities,
       patients and non-profit organizations – stated that they believe many dialysis
       facilities are paying for or arranging payments for individual market health
       care premiums for patients they serve.

       ...

       “[C]omments also documented a range of concerning practices with
       providers and suppliers influencing enrollment decisions in ways that put the

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       financial interest of the supplier above the needs of the patients . . . . Based
       on these comments, HHS has concluded that the differences between providers’
       and suppliers financial interests and patients’ interests may result in providers and
       suppliers taking action that put the patients’ lives and wellbeing at risk.”

       ...

       [T]he asymmetry between facilities’ and patients’ interests and information with
       respect to enrollment decisions creates a high likelihood that a conflict of interest
       will develop. Comments submitted in response to the RFI support the conclusion
       that this conflict of interest is harming patients, with dialysis facility patients
       being steered toward enrollment in individual market coverage with third
       party premium payments, rather than enrollment in the public coverage for
       which they are likely eligible and which is frequently the better coverage
       option for them.

Id. at 90214, 90217.

       195.     The CMS also explained that dialysis providers were motivated to steer their

patients onto private insurance under the ACA because such plans reimbursed the providers at a

far greater rate than Medicare or Medicaid for the same treatments:

       All commenters who addressed the issue made clear that enrolling a patient
       in commercial coverage (including coverage in the individual market) rather
       than public coverage like Medicare and/or Medicaid is of significant financial
       benefit to dialysis facilities. For example, one comment cited reports from
       financial analysts estimating that coverage generally pays dialysis facilities an
       average of four times more per treatment . . . . A number of other commenters
       explained that commercial coverage reimburses dialysis facilities at significantly
       higher rates overall.

Id. at 90214.

       196.     Moreover, because the cost of the premiums is just a fraction of the increased

revenue a dialysis provider received under private insurance, as compared to public coverage,

dialysis providers:

       have much to gain financially . . . by making a relatively small outlay to pay an
       individual’s premium to enroll in commercial coverage so as to receive a much
       larger payment for providing an identical set of health care services. This
       asymmetry creates strong financial incentive for such providers to use premium
       payments to steer as many patients as possible.


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Id. at 90214-15.

        197.   The IFR requires, inter alia, dialysis facilities that make third party payments for

coverage, either directly or through a charity, to inform their patients: (i) how a patient’s access

to and cost for ESRD care would be impacted by individual market versus Medicare and

Medicaid coverage; and (ii) of potential gaps in coverage of penalties if enrollment in Medicare

is delayed. Dialysis facilities must also disclose information about their premium assistance

program, including limitations on that assistance and potential termination if patients switch

facilities.

        198.   Additionally, the IFR forbids a dialysis facility to make premium assistance

payments directly or indirectly through a non-profit entity, unless the patient’s insurer has

formally agreed to accept such payments for the entire plan year. In other words, while third-

party premium assistance payments are still allowed, their permissibility is entirely dependent on

the prior approval of the insurer to whom the payments would be made. The CMS warned,

however, that depending on the IFR’s efficacy, it was “considering banning third-party payments

altogether when patients have the option of enrolling in Medicare or Medicaid,” and that the

“agency is asking stakeholders to comment on whether patients would benefit from further

restricting premium assistance payments.”       Samantha Liss, Federal regulators take aim at

dialysis providers steering patients into private plans, St. Louis Post-Dispatch (Dec. 15, 2016).

        199.   However, as noted by Timothy Jost, a law professor at Washington and Lee

University, writing on the Health Affairs blog, the new rule on third party premium assistance

payments will “effectively end the practice for most patients” even in the absence of an outright

prohibition:




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       The regulation further requires facilities to disclose to individual market insurers
       the fact that the facilities are paying premiums, either directly or through charities,
       and receive assurances from the insurers that the insurer will accept payments
       throughout the plan year. The facility may not pay the premiums unless such
       assurances are received. Since insurers actively oppose third party payments,
       and since CMS has earlier said that it discourages such payments, this rule is
       likely to put an end to most third party payments for ESRD treatment. But
       CMS states that it is considering an absolute prohibition of third party payments if
       disclosure proves inadequate to end perceived abuses.

Timothy Jost, CMS Acts On Premium Payments By Dialysis Facilities, Special Enrollment

Period Eligibility, Health Affairs Blog (Dec. 13, 2016).

G.     Loss Causation

       200.    For the purposes of this section of the Complaint, the term “Defendants” refers

only to ARA and the Individual Defendants.

       201.    During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the price of ARA common

stock and operated as a fraud or deceit on Class Period purchasers of ARA common stock by

failing to disclose and misrepresenting the adverse facts detailed herein. When Defendants’ prior

misrepresentations and fraudulent conduct were disclosed and became apparent to the market,

the price of ARA common stock declined significantly as the prior artificial inflation came out of

the Company’s stock price.

       202.    As a result of their purchases of ARA common stock during the Class Period,

Lead Plaintiff and the other Class members suffered economic loss, i.e., damages, under the

federal securities laws. Defendants’ false and misleading statements had the intended effect and

caused ARA common stock to trade at artificially inflated levels throughout the Class Period,

trading as high as $29.21 per share on June 13, 2016.




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       203.    By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of ARA’s business and future financial prospects. When the truth

about the Company was revealed to the market, the price of ARA common stock fell

significantly. The declines in the price of ARA’s common stock detailed herein removed the

inflation therefrom, causing real economic loss to investors who had purchased ARA common

stock during the Class Period.

       204.    The declines in the price of ARA common stock after the corrective disclosures

(see ¶¶ 153, 155, 175, 180) came to light were a direct result of the nature and extent of

Defendants’ fraudulent misrepresentations being revealed to investors and the market. The

timing and magnitude of the price declines in ARA common stock negate any inference that the

loss suffered by Lead Plaintiff and the other Class members was caused by changed market

conditions, macroeconomic or industry factors or Company-specific facts unrelated to

Defendants’ fraudulent conduct.

       205.    The economic loss, i.e., damages, suffered by Lead Plaintiff and the other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate the price of

ARA common stock and the subsequent significant declines in the value of ARA common stock

when Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

H.     No Safe Harbor

       206.    For the purposes of this section of the Complaint, the term “Defendants” refers

only to ARA and the Individual Defendants.

       207.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

Many of the specific statements pleaded herein were not identified as “forward-looking



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statements” when made. To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pleaded herein,

Defendants are liable for those false forward-looking statements because at the time each of

those forward-looking statements were made, the particular speaker knew that the particular

forward-looking statement was false, and/or the forward-looking statement was authorized

and/or approved by an executive officer of ARA who knew that those statements were false

when made.

I.      Applicability of the Presumption of Reliance: Fraud on the Market

        208.   At all relevant times, the market for ARA common stock was an efficient market

for the following reasons, among others:

        (a)    ARA common stock met the requirements for listing, and were listed and actively

traded on the NYSE, a highly efficient, national stock market;

        (b)    As a regulated issuer, ARA filed periodic public reports with the SEC and the

NYSE;

        (c)    During the class period, ARA’s common stock had an average daily volume of

212,525 shares traded;

        (d)    ARA regularly communicated with public investors via established market

communication mechanisms, including regular disseminations of press releases on the national

circuits of major newswire services and other wide-ranging public disclosures, such as

communications with the financial press and other similar reporting services;




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        (e)     ARA was followed by securities analysts employed by several major brokerage

firms – including, inter alia, Matthew Borsch of Goldman Sachs, Steve Baxter of BofA Merrill

Lynch, and Joshua Raskin - Barclays Capital – who wrote reports which were distributed to the

sales force and certain customers of their respective brokerage firms. Each of these reports was

publicly available and entered the public marketplace; and

        (f)     New material information regarding the Company’s performance and prospects

was quickly incorporated into the price of ARA’s common stock, as demonstrated by the

immediate decline in ARA’s share price upon the release of the negative information described

herein (see ¶¶ 153, 155, 175, 180).

       209.     As a result of the foregoing, the market for ARA common stock promptly

digested current information regarding ARA from all publicly available sources and reflected

such information in the price of the stock. Under these circumstances, all purchasers of ARA

common stock during the Class Period suffered similar injury through their purchase of ARA

common stock at artificially inflated prices and a presumption of reliance applies.

                                                II.

              ALLEGATIONS PERTINENT TO THE SECURITIES ACT CLAIMS

       210.     This section incorporates ¶¶ 30-32, 34-52, 56-62, 63-95, 100-102, 122-26, 129-30,

176-77, but specifically excludes any allegations of fraud or fraudulent conduct. For purposes of

asserting this and their other claims under the Securities Act, Plaintiffs do not allege that

Defendants acted with intentional, reckless or otherwise fraudulent intent.

       211.     On April 20, 2016, ARA filed with the SEC its Form S-1/A registration statement

for the April 2016 IPO. On April 20, 2016, the SEC declared the Form S-1/A, as amended,

effective.



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       212.      On April 22, 2016, ARA filed with the SEC a prospectus (the “Prospectus”) for

the April 2016 IPO offering to register for sale 7,500,000 shares of the Company’s common

stock (exclusive of 1,125,000 shares of the Company’s common stock pursuant to an over-

allotment option issued to the Underwriter Defendants) at a price of $22.00 per share.

       213.      The April 2016 IPO was sold pursuant to the Form S-1/A, as amended, and the

Prospectus (jointly referred to herein as the “Registration Statement”).        The Registration

Statement was negligently prepared and, as a result, contained inaccurate statements of material

fact and omitted material information required to be disclosed therein.

       214.      Specifically, the Registration Statement failed to disclose known trends, events,

demands, commitments and uncertainties that were reasonably likely to have a material effect on

the Company’s operating results.       These known, but undisclosed, trends, events, demands,

commitments, and uncertainties caused the financial information of ARA reported in the

Registration Statement not to be necessarily indicative of the Company’s future operating results.

       215.      Under the rules and regulations governing its preparation, the Registration

Statement was required to disclose information called for by Item 303 of Regulation S-K. See

17 C.F.R. § 229.303, Management’s Discussion and Analysis of Financial Condition and Results

of Operations.

       216.      Item 303(a) of Regulation S-K required the Registration Statement to describe

“any known trends or uncertainties that have had or that the registrant reasonably expects will

have a material favorable or unfavorable impact on net sales or revenues or income from

continuing operations.”

       217.      The instructions to Item 303(a) of Regulation S-K required that the disclosure in

the Registration Statement to “focus specifically” on material events and uncertainties known to



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management that would cause ARA’s previously reported financial information not to be

indicative of future operating results, stating, in pertinent part, as follows:

        The discussion and analysis shall focus specifically on material events and
        uncertainties known to management that would cause reported financial
        information not to be necessarily indicative of future operating results or of future
        financial condition. This would include descriptions and amounts of (A) matters
        that would have an impact on future operations and have not had an impact in the
        past, and (B) matters that have had an impact on reported operations and are not
        expected to have an impact upon future operations.

       218.     As set forth in the SEC’s interpretative guidance to Item 303 of Regulation S-K, it

requires not only a “discussion,” but also an “analysis” of known material trends, events,

demands, commitments, and uncertainties.           In this regard, disclosure of a trend, demand,

commitment, event or uncertainty is required when it is reasonably likely that the trend,

uncertainty or other event will have a material effect on the company’s liquidity, capital

resources or results of operations.

       219.     The Registration Statement failed to disclose the following material trends, events,

and/or uncertainties as follows: (i) ARA’s steering of dialysis patients to ACA commercial

plans; (ii) ARA’s involvement with AKF, including ARA’s contributions to that entity and its

assistance to patients applying for grants from AKF; (iii) the amount of its business attributable

to patients who were receiving premium payment assistance from AKF; and (iv) the uncertainty

of AKF’s ability to continue making premium assistance payments in light of the fact that AKF

operated in violation of the 1997 Advisory Opinion.

       220.     The Registration Statement failed to disclose the reasonably likely material

adverse effect on the Company’s revenues and operating income from its patient steering efforts

and relationship with AKF, especially in light of the fact that AKF operated in violation of the

1997 Advisory Opinion.



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       221.    In addition, the Registration Statement negligently failed to disclose significant

known risks that caused the April 2016 SPO to be speculative or risky. Item 3 of Form S-1

required the Registration Statement to furnish the information called for under Item 503 of

Regulation S-K, 17 C.F.R. § 229.503, including, among other things, a “discussion of the most

significant factors that make the offering speculative or risky.”

       222.    The Registration Statement negligently failed to disclose the then-existing (as

opposed to potential) key risks, including those associated with: (i) ARA’s steering of dialysis

patients to ACA commercial plans; (ii) ARA’s involvement with AKF, including ARA’s

contributions to that entity and its assistance to patients applying for grants from AKF; (iii) the

uncertainty of AKF’s ability to continue making premium assistance payments in light of the fact

that AKF operated in violation of the 1997 Advisory Opinion; and (iv) the impact on ARA’s

performance if there was a disruption in ARA’s ability to obtain premium payment assistance

from AKF for its patients.

       223.    Moreover, Defendants were aware of UnitedHealth’s claims prior to the IPO and

determined to reserve for those claims on ARA’s first quarter financial statements (without

disclosing the substantive basis for those reserves).

                                             COUNT I

              Violation of Section 11 of the Securities Act Against All Defendants
                                      (except McDonough)

       224.    Lead Plaintiff repeats and re-alleges each and every allegation contained in ¶¶

210-23 (including the allegations incorporated by reference in ¶ 210), but specifically excludes

any allegations of fraud or fraudulent conduct. This claim for relief does not sound in fraud. For

purposes of asserting this and its other claims under the Securities Act, Lead Plaintiff does not

allege that Defendants acted with intentional, reckless or otherwise fraudulent intent.


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       225.    This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. §

77k, on behalf of the Subclass against all Defendants.

       226.    The Registration Statement for the April 2016 IPO was inaccurate and contained

untrue statements of material fact, omitted to state other facts necessary to make the statements

accurate, and omitted to state material facts required to be stated therein.

       227.    Lead Plaintiff acquired ARA common stock pursuant to the Registration

Statement, without knowledge of the untruths and/or admissions alleged herein. Lead Plaintiff

and the Subclass sustained damages when the price of ARA common stock declined

substantially as the material inaccuracies in the Registration Statement were revealed to the

market. Defendant ARA was the registrant for the April 2016 IPO. As such, ARA is strictly

liable to the Lead Plaintiff and the Subclass under Section 11 of the Securities Act for the

materially inaccurate statements contained in the Registration Statement and its failure to be

complete and accurate.

       228.    The Individual Defendants signed the Registration Statement either personally or

through an Attorney-in-Fact and caused its issuance. The Individual Defendants each had a duty

to make a reasonable and diligent investigation of the truthfulness and accuracy of the statements

contained in the Registration Statement. The Individual Defendants had a duty to ensure that

such statements were true and accurate and that there were no omissions of material facts that

would make the statements in the Registration Statement inaccurate. By virtue of the Individual

Defendants' failure to exercise reasonable care, the Registration Statement contained inaccurate

misrepresentations and/or omissions of material fact. As such, the Individual Defendants are

liable to Lead Plaintiff and the Subclass.




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         229.     The Underwriter Defendants failed to perform adequate due diligence in

connection with their role as underwriters and were negligent in failing to ensure that the

Registration Statement was prepared properly and accurately. The Underwriter Defendants’

failure to conduct an adequate due diligence investigation was a substantial factor leading to the

harm complained of herein. As such, the Underwriter Defendants are strictly liable to Lead

Plaintiff and the Class.

         230.     The Defendants named herein were responsible for the contents and dissemination

of the Registration Statement. None of the Defendants named herein made a reasonable

investigation or possessed reasonable grounds for the belief that the statements contained in the

Registration Statement were true and without omissions of any material facts and were not

inaccurate. By reasons of the conduct herein alleged, each Defendant violated Section 11 of the

Securities Act.

         231.     At the time of Lead Plaintiff’s purchases of ARA common stock, Lead Plaintiff

and other members of the Class were without knowledge of the facts concerning the wrongful

conduct alleged herein and could not have reasonably discovered those facts prior to the

disclosures herein. Less than one year has elapsed from the time that Lead Plaintiff discovered

or reasonably could have discovered the facts upon which this Complaint is based to the time

that Lead Plaintiff commenced this action. Less than one year has elapsed between the time that

the securities were offered to the public and the time this action was commenced in this Court.

ARA’s per share price at the time of the commencement of this claim was lower than the IPO

price.




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                                             COUNT II

                          Violation of Section 15 of the Securities Act
           Against the Individual Defendants (except McDonough) and Centerbridge

          232.    Lead Plaintiff repeats and re-alleges each and every allegations contained in ¶¶

210-31 (including the allegations incorporated by reference in ¶ 210), but specifically excludes

any allegations of fraud or fraudulent conduct and/or motive. This claim for Relief does not

sound in fraud. For purposes of asserting this and its other claims under the Securities Act, Lead

Plaintiff does not allege that Defendants acted with intentional, reckless or otherwise fraudulent

intent.

          233.    This Count is asserted by Lead Plaintiff on behalf of itself and the Subclass

against all the Individual Defendants and Centerbridge for violations of Section 15 of the

Securities Act.

          234.    The Individual Defendants and Centerbridge acted as controlling persons of ARA

within the meaning of Section 15 of the Securities Act. ARA has conceded that, as a result of

Centerbridge’s majority ownership, ARA was a “controlled company.” See Form S-1/A at 51.

As of the IPO, Centerbridge had appointed the majority of ARA’s directors, and maintained the

right to appoint a majority of ARA’s directors during the Class Period.

          235.    By reason of their ownership interest, senior management positions, and/or

directorships at the Company, the Individual Defendants individually, and acting pursuant to a

common plan, and Centerbridge had the power to control and exercised the same to cause ARA

to engage in the conduct complained of herein and were therefore control persons of ARA. By

reason of such conduct, the Individual Defendants and Centerbridge are liable pursuant to

Section 15 of the Securities Act.




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       236.    Each of the Individual Defendants and Centerbridge were culpable participants in

the violations of Sections 11 of the Securities Act alleged in Counts I above, based on their

having signed the Registration Statement and/or having otherwise participated in the process

which allowed the April 2016 IPO to be successfully completed.

                                           COUNT III

          For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                       (Against ARA and the Individual Defendants)

       237.    Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein, with the exception of ¶¶ 210-36.

       238.    This Count is asserted against ARA and the Individual Defendants and is based

upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

       239.    During the Class Period, ARA and the Individual Defendants, individually and in

concert, directly or indirectly, disseminated or approved the false statements specified above,

which they knew or deliberately disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       240.    ARA and the Individual Defendants violated §10(b) of the Exchange Act and

Rule10b-5 in that they:

       (a)     employed devices, schemes and artifices to defraud;

       (b)     made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or




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       (c)     engaged in acts, practices and a course of business that operated as a fraud or

deceit upon plaintiff and others similarly situated in connection with their purchases of ARA

common stock during the Class Period.

       241.    ARA and the Individual Defendants acted with scienter in that they knew that the

public documents and statements issued or disseminated in the name of ARA were materially

false and misleading; knew that such statements or documents would be issued or disseminated

to the investing public; and knowingly and substantially participated, or acquiesced in the

issuance or dissemination of such statements or documents as primary violations of the securities

laws. These Defendants by virtue of their receipt of information reflecting the true facts of ARA,

their control over, and/or receipt and/or modification of ARA’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning ARA, participated in the fraudulent scheme alleged herein.

       242.    The Individual Defendants, who are the senior officers of the Company, had

actual knowledge of the material omissions and/or the falsity of the material statements set forth

above, and intended to deceive Plaintiff and the other members of the Class, or, in the alternative,

acted with extreme reckless disregard for the truth when they failed to ascertain and disclose the

true facts in the statements made by them or other ARA personnel to members of the investing

public, including Plaintiff and the Class.

       243.    As a result of the foregoing, the market price of ARA common stock was

artificially inflated during the Class Period. In ignorance of the falsity of the statements by ARA

and the Individual Defendants, Lead Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of ARA securities during the




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Class Period in purchasing ARA common stock at prices that were artificially inflated as a result

of ARA and the Individual Defendants’ false and misleading statements.

        244.    Had Lead Plaintiff and the other members of the Class been aware that the market

price of ARA common stock had been artificially and falsely inflated by ARA and the Individual

Defendants’ misleading statements and by the material adverse information which ARA and the

Individual Defendants did not disclose, they would not have purchased ARA securities at the

artificially inflated prices that they did, or at all.

        245.    As a result of the wrongful conduct alleged herein, Lead Plaintiff and other

members of the Class have suffered damages in an amount to be established at trial.

        246.    By reason of the foregoing, ARA and the Individual Defendants have violated

Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the Lead

Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchase of ARA common stock during the Class Period.

                                               COUNT IV

                         Violations of Section 20(a) of the Exchange Act
                      (Against the Individual Defendants and Centerbridge)

        247.    Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein, with the exception of ¶¶ 210-36.

        248.    During the Class Period, the Individual Defendants participated in the operation

and management of ARA, and conducted and participated, directly and indirectly, in the conduct

of ARA’s business affairs. Because of their senior positions, they knew the adverse non-

public information about ARA’s misstatement of income and expenses and false financial

statements.




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       249.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to ARA’s

financial condition and results of operations, and to correct promptly any public statements

issued by ARA which had become materially false or misleading. Additionally, ARA has

conceded that, as a result of Centerbridge’s majority ownership, ARA was a “controlled

company.” See Form S-1/A at 51. As of the IPO, Centerbridge had appointed the majority of

ARA’s directors, and maintained the right to appoint a majority of ARA’s directors during the

Class Period.

       250.     Because of their positions of control and authority as senior officers, the

Individual Defendants and Centerbridge were able to, and did, control the contents of the various

reports, press releases and public filings which ARA disseminated in the marketplace during the

Class Period concerning ARA’s results of operations. Throughout the Class Period, the

Individual Defendants and Centerbridge exercised their power and authority to cause ARA to

engage in the wrongful acts complained of herein. The Individual Defendants and Centerbridge

were “controlling persons” of ARA within the meaning of Section 20(a) of the Exchange Act. In

this capacity, they participated in the unlawful conduct alleged which artificially inflated the

market price of ARA.

       251.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by ARA.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:




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                              CERTIFICATE OF SERVICE

       I, Ira M. Press, hereby certify that on February 1, 2017, a copy of the foregoing was

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                                                /s/ Ira M. Press
                                                                   Ira M. Press
